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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                               MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                                          SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES



                           DEFENDANTS’ MOTION TO DISMISS
                      PLAINTIFFS’ MASTER LONG FORM COMPLAINT

         NOW INTO COURT, through undersigned counsel, come Defendants, sanofi-aventis

U.S. LLC, Sanofi US Services Inc., Sandoz Inc., Hospira, Inc., Hospira Worldwide, LLC, Pfizer

Inc., Actavis Pharma, Inc., Accord Healthcare, Inc., Sun Pharma Global Inc.,1 and McKesson

Corporation, which respectfully bring the instant Motion to Dismiss. For the reasons more fully

set forth in the attached Memorandum in Support, Defendants move to dismiss Plaintiffs’ Master

Long Form Complaint pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b).

         WHEREFORE, Defendants respectfully request that this Court dismiss Plaintiffs’ Master

Long Form Complaint.




1
 At the time of filing this Motion, Sun Pharma Global Inc. and Plaintiffs have agreed to a voluntary dismissal without
prejudice and have further agreed to substitute and accept streamlined service of process for Sun Pharmaceutical
Industries, Inc. f/k/a Caraco Laboratories, Ltd. Plaintiffs have also named Sun Pharma Global FZE in this litigation
but Sun Pharma Global FZE is a foreign company incorporated under the laws of the United Arab Emirates and has
not been served with process, has not agreed to accept service of process in this litigation and consequently, Sun
Pharma Global FZE is not appearing in this matter or joining in this Motion.

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Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2017, I electronically filed the foregoing with the Clerk of

the Court using the ECF system which sent notification of such filing to all counsel of record.



                                                             /s/ Douglas J. Moore




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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                           MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                                      SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


              DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
         MOTION TO DISMISS PLAINTIFFS’ MASTER LONG FORM COMPLAINT

          Defendants sanofi-aventis U.S. LLC, Sanofi US Services Inc., Sandoz Inc., Hospira, Inc.,

Hospira Worldwide, LLC, Pfizer Inc., Actavis Pharma, Inc., Accord Healthcare, Inc., Sun

Pharma Global Inc.,1 and McKesson Corporation move to dismiss Plaintiffs’ Master Long Form

Complaint (“Master Complaint”) pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b).

    I.    INTRODUCTION

          This product liability action involves an FDA-approved prescription chemotherapy

medication known as “Taxotere®” and various other FDA-approved “docetaxel” products

(collectively “docetaxel”).        Plaintiffs allege that they were prescribed docetaxel by their

physicians to treat breast cancer and that they subsequently sustained permanent hair loss.2

Plaintiffs do not allege that docetaxel was not effective for them. Nor do they claim that

Defendants failed to disclose the risk of hair loss, which is a well-known and common side effect


1
  At the time of filing this Motion, Sun Pharma Global Inc. and Plaintiffs have agreed to a voluntary dismissal
without prejudice and have further agreed to substitute and accept streamlined service of process for Sun
Pharmaceutical Industries, Inc. f/k/a Caraco Laboratories, Ltd. Plaintiffs have also named Sun Pharma Global FZE
in this litigation but Sun Pharma Global FZE is a foreign company incorporated under the laws of the United Arab
Emirates and has not been served with process, has not agreed to accept service of process in this litigation and
consequently, Sun Pharma Global FZE is not appearing in this matter or joining in this Motion.
2
  Plaintiffs define “permanent” alopecia as “an absence of or incomplete hair regrowth six months beyond the
completion of chemotherapy.” Compl. ¶ 181.

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of docetaxel. As Plaintiffs acknowledge, Defendants have included multiple warnings about

alopecia in the docetaxel labeling at all pertinent times. See Compl. ¶¶ 46, 60, 72, 84, 94, 106,

129. Plaintiffs allege only that they were not told that hair loss might be permanent.

        Plaintiffs’ Master Complaint asserts eight causes of action against Defendants: (1) strict

products liability – failure to warn, (2) strict products liability for misrepresentation, (3)

negligence, (4) negligent misrepresentation, (5) fraudulent misrepresentation, (6) fraudulent

concealment, (7) fraud and deceit, and (8) breach of express warranty (against sanofi-related

entities only). These causes of action are facially deficient as a matter of law, or lack factual

allegations sufficient to state a plausible cause of action, or, in some instances, both.

        First, the Master Complaint lacks the requisite factual allegations sufficient to state the

elements of each claim asserted. Causation, for example, is an essential element of each of

Plaintiffs’ claims. However, Plaintiffs do not allege that docetaxel itself, or that any alleged

failure to warn their physicians about a purported risk of permanent hair loss, actually caused

them personal injury. Thus, the Master Complaint should be dismissed because it fails to meet

the federal pleading requirements of Rule 8(a)(2) and Twombly, obliging Plaintiffs to provide

“more than labels and conclusions [because] a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

        Second, Plaintiffs’ various fraud-based claims must be dismissed under the heightened

pleading standard of Rule 9(b), which requires such claims to be pled with particularity. Here,

the Master Complaint does not contain a single factual allegation identifying actionable conduct,

including any specific event, statement, or conduct by any individual Defendant, when and

where the conduct occurred, who engaged in the conduct, to whom it was directed, why it was

improper, or how it relates to any alleged injury.



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       The foundational pleading in a case should not force Defendants and the Court to guess at

Plaintiffs’ theory of liability or the factual basis of the claims. Before discovery, Defendants

have a right to be fairly informed of the specific claims against each of them so that they may ask

the appropriate questions at deposition and develop an adequate factual record for any trial.

       In MDLs, as in any other case, courts repeatedly hold that “the price of entry, even to

discovery, is for the plaintiff to allege a factual predicate concrete enough to warrant further

proceedings, which may be costly and burdensome.” In re Medtronic, Inc. Sprint Fidelis Leads

Prods. Liab. Litig., No. 08-cv-1905, 2009 WL 294353, at *2 (D. Minn. Feb. 5, 2009) (emphasis

in original) (citation omitted), aff’d sub nom. 623 F.3d 1200 (8th Cir. 2010). Plaintiffs have

failed to adequately plead a viable claim, and they should not be permitted to drag Defendants

through a costly and time consuming discovery process.

       Accordingly, Defendants respectfully request that this Court grant their motion and

dismiss the Master Complaint in its entirety.

 II.   LEGAL STANDARD

       To survive dismissal under Rule 12(b)(6), a “complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). A claim is facially

plausible “when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. However, plausibility

requires more than a mere “possibility that a defendant has acted unlawfully.” Id. Thus, the

“[f]actual allegations must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. A proper pleading “requires more than labels and conclusions,” and

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory



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statements, do not suffice.” Iqbal, 556 U.S. at 678. Similarly, “naked assertions devoid of

further factual enhancement” are insufficient and must be disregarded. Id. (internal marks

omitted).

        Under Rule 9(b), claims for fraud must be pled with particularity. FED. R. CIV. P.

9(b). At a minimum, Rule 9(b) requires the “who, what, when, where, and how” of the alleged

fraud. U.S. ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir.

1997) (citing Williams v. WMX Tech., Inc., 112 F.3d 175, 179 (5th Cir. 1997)). “The heightened

pleading standard for fraud claims supplies defendants with the information they need to prepare

responses, prevents discovery intended as a mere fishing expedition, and protects the

defendants’ reputations from baseless allegations.” U.S. ex rel. Nunnally v. W. Calcasieu

Cameron Hosp., 519 F. App’x 890, 893 n.2 (5th Cir. 2013); see also Eckhardt v. Qualitest

Pharm., Inc., 751 F.3d 674, 681 (5th Cir. 2014) (finding plaintiff failed to allege sufficient facts

for his fraud claim to survive in a pharmaceutical product liability case).

        MDL courts in this and other circuits also regularly hold plaintiffs to their Rule 9(b)

pleading burden for fraud-based causes of action in “master” or “consolidated” complaints.

See, e.g., In re Ford Motor Co. Vehicle Paint Litig., No. MDL 1063, 1996 WL 426548 (E.D.

La. July 30, 1996) (dismissing fraudulent misrepresentation claim in master complaint for

failure to plead reliance); see also In re McNeil Consumer Healthcare, Mktg. & Sales

Practices Litig., No. 2:10-md-02190, 2011 WL 2802854 (E.D. Pa. July 15, 2011) (dismissing

consolidated complaint for lack of standing and finding fraud claims were not pled with

particularity).3


3
 See also In re Ford Motor Co. Speed Control Deactivation Switch Prods. Liab. Litig., No. 05-md-01718, 2007
WL 2421480 (E.D. Mich. Aug. 24, 2007); In re Bridgestone/Firestone, Inc. Prods. Liab. Litig., No. 00-ip-9373,
2001 WL 34136021 (S.D. Ind. Sept. 6, 2001); In re Gen. Motors Corp. Anti-Lock Brake Prods. Liab. Litig., 966
F. Supp. 1525, 1535 (E.D. Mo. 1997), aff’d sub nom. Briehl v. Gen. Motors Corp., 172 F.3d 623 (8th Cir. 1999);

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III.   ARGUMENT

                                        SHOTGUN PLEADING

       A. Plaintiffs’ “Shotgun Pleading” Violates Rule 8 Pleading Standards

       Plaintiffs’ Master Complaint engages in several types of shotgun pleading in violation of

the Federal Rules of Civil Procedure.

       First, Plaintiffs’ Master Complaint impermissibly incorporates long narrative sections

into each cause of action by reference, making it virtually impossible for Defendants to identify

what facts are part of which cause of action. See, e.g., Martin v. Tesoro Corp., No. 2:11-cv-

1413, 2012 WL 1866841, at *2 (W.D. La. May 21, 2012) (“A shotgun pleading is one that sets

forth an excessive number or facts and then asserts in a conclusory fashion that each of those

facts supports a number of legal claims, with the result that ‘each count is replete with factual

allegations that could not possibly be material to that specific count, and that any allegations that

are material are buried beneath innumerable pages of rambling irrelevancies.’”) (quoting

Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001)). This type of shotgun pleading

places a burden on defendants responding to the pleading, and on the court interpreting it. More

than two-thirds of Plaintiffs’ Master Complaint is devoted to an “extended narrative” describing

supposed misconduct by Defendants. Plaintiffs follow this narrative with eight causes of action,

formulaically outlining the elements of each claim without the factual support required by

federal pleading standards.

       Second, Plaintiffs compound this problem by asserting seven of their eight causes of

action (all except breach of express warranty) against “All Defendants,” collectively. Plaintiffs

allege that Defendants communally did or did not do certain things, but they fail to specify what


In re New England Compounding Pharmacy, Inc. Prods. Liab. Litig., No. 13-02419-RWZ, 2014 WL 4322409 (D.
Mass. Aug. 29, 2014).

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conduct they allege each Defendant did or did not do. In cases where “geographic and temporal

realities make plain that all of the defendants could not have participated in every act complained

of,” a complaint that references all defendants collectively is an improper “shotgun pleading”

because it is impossible for the court, and parties, to determine which defendant allegedly

engaged in which acts. Martin, 2012 WL 1866841, at *2 (citing Magluta, 256 F.3d at 1284).

Plaintiffs bear the burden “to provide fair notice of the grounds for the claims made against each

of the defendants.” Fox v. Ca. Franchise Tax Bd., 443 F. App’x 354, 362 (10th Cir. 2011)

(citing Robbins v. Oklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008)).

        No such notice is provided here. Plaintiffs’ negligence claim, for example, alleges a

laundry list of purported “acts and/or omissions” by “Defendants, their agents, servants, and/or

employees,” including generic allegations directed to all Defendants of misconduct related to

“manufacturing, producing, promoting, formulating, creating, and/or designing [docetaxel].”

Compl. ¶ 243.4 Similarly, their strict products liability for misrepresentation claim alleges that

“Defendants misrepresented facts as set forth herein concerning the character or quality of

[docetaxel]” and that “Defendants’ misrepresentations were made to potential prescribers and/or

purchasers or users of the public at large.” Id. at ¶¶ 235-36. They do not allege what purported

misrepresentation any single Defendant allegedly made to any person at any time.

        When, as here, a complaint “use[s] . . . the collective term ‘Defendants’ . . . with no

distinction as to what acts are attributable to whom, it is impossible for any of these individuals

to ascertain what particular [] acts they are alleged to have committed.” Fox, 443 F. App’x at



4
  To the extent Plaintiffs allege a design defect claim, courts have repeatedly held that such claims are preempted.
See, e.g., Yates v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 298-99 (6th Cir. 2015); see also Johnson v.
Teva Pharm. USA, Inc., 758 F.3d 605, 612-13 (5th Cir. 2014); Eckhardt, 751 F.3d at 678-79; Utts v. Bristol-Myers
Squibb Co., No. 16-cv-5668, 2016 WL 7429449, at *12 (S.D.N.Y. Dec. 23, 2016); but see In re Xarelto
(Rivaroxaban) Prods. Liab. Litig., No. MDL 2592, 2017 WL 1395312, at *3-4 (E.D. La. Apr. 13, 2017) (Fallon, J.).
Defendants reserve the right to more fully brief preemption arguments to the extent this litigation proceeds.

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362. Because Plaintiffs’ pleading does not give Defendants fair notice of the claims against them

as required by Rule 8, the Court should dismiss the Master Complaint.

                                                    CAUSATION

         B. All of Plaintiffs’ Claims Must be Dismissed Because Plaintiffs Fail to Allege
            Causation

         Plaintiffs’ claims should be dismissed because Plaintiffs do not allege causation, an

essential element of each claim. To state a products liability claim based on an alleged personal

injury, a plaintiff must plead and prove that the product caused physical harm to the plaintiff and

that defendant’s alleged misconduct proximately caused plaintiff’s alleged injury. See, e.g.,

RESTATEMENT (SECOND) OF TORTS § 402A(1),5 402B, 430, 557A (1965) (causation is an element

of claims for strict liability for product defect, strict liability for misrepresentation, negligence,

and fraudulent misrepresentation); Pa. Employees Ben. Trust Fund v. Astrazeneca Pharm. LP,

No. 6:09-cv-5003, 2009 WL 2231686, at *4 (M.D. Fla. July 20, 2009) (express warranty); Yurcic

v. Purdue Pharma, L.P., 343 F. Supp. 2d 386, 394 (M.D. Pa. 2004) (same).

         Plaintiffs do not even allege that docetaxel caused their alleged permanent hair loss.

They allege only that they “are women who were diagnosed with breast cancer, underwent

chemotherapy using Taxotere, Docetaxel Injection, Docetaxel Injection Concentrate, and/or

Docefrez, and now suffer from permanent hair loss, a side effect for which they were not warned

and were wholly unprepared.” Compl. ¶ 5; see also id. at ¶ 231. Plaintiffs fail to actually allege

that absent their use of docetaxel, they would not have experienced permanent hair loss.

5
  Except for the states that have rejected the strict products liability doctrine, each of the states in which Plaintiffs
reside evaluate strict liability claims under the framework set forth in Section 402A or substantially equivalent state
law. See, e.g., King v. Danek Med., Inc., 37 S.W.3d 429, 435 (Tenn. Ct. App. 2000) (“[Pursuant to the Tennessee
Products Liability Act, a] manufacturer or seller of a product shall not be liable for any injury to person . . . caused
by the product unless the product is determined to be in a defective condition or unreasonably dangerous at the time
it left the control of the manufacturer or seller.”) (quoting TENN. CODE ANN. § 29–28–105(a)); see also Keck v.
Dryvit Sys., Inc., 830 So.2d 1, 5 (Ala. 2002) (“The [Alabama Extended Manufacturer’s Liability Doctrine] is a
judicially created accommodation of Alabama law to the doctrine of strict liability for damage or injuries caused by
allegedly defective products.”) (citation omitted).

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         Nor is it enough to allege that a manufacturer failed to warn of a particular risk. Rather, a

plaintiff must plead and prove that the failure to warn was a “producing cause” of injury.

Ackermann v. Wyeth Pharm., 526 F.3d 203, 208 (5th Cir. 2008) (citing Porterfield v. Ethicon,

Inc., 183 F.3d 464, 467-68 (5th Cir. 1999)). Here, where the “learned intermediary doctrine”

applies, “the manufacturer has no duty to warn the patient, but need only warn the patient’s

physician.” Willett v. Baxter Int’l, Inc., 929 F.2d 1094, 1098 (5th Cir. 1991); Ackermann, 526

F.3d at 207-08. A prescription-drug manufacturer “discharge[s] its duty . . . when it has

reasonably informed prescribing physicians of the dangers of harm from such a drug.” Anderson

v. McNeilab, Inc., 831 F.2d 92, 93 (5th Cir. 1987) (citing Cobb v. Syntex Labs., Inc., 444 So.2d

203, 203 (La. Ct. App. 1983)). It follows that causation in this context requires a showing that “a

proper warning would have changed the decision of the treating physician, i.e., that but for the

inadequate warning, the treating physician would not have used or prescribed the product.”

Wheat v. Pfizer, Inc., 31 F.3d 340, 343 (5th Cir. 1994) (quoting Willett, 929 F.2d at 1099).

Among other things, Plaintiffs fail to allege the following:

                 That another drug would have successfully treated Plaintiffs’ breast cancer;

                 That another drug would have been free from all risk of permanent alopecia (to do
                  so would be contrary to scientific fact and resort to total speculation);

                 That Plaintiffs’ respective prescribing physicians even read the relevant docetaxel
                  labeling;6 or

                 That, had the labeling said something different about alopecia, Plaintiffs’
                  prescribing physicians would have made a different prescribing decision.

Because Plaintiffs do not allege facts sufficient to establish causation, their claims should be

dismissed. See, e.g., Aston v. Johnson & Johnson, No. 16-cv-0086, 2017 WL 1214399, at *7



6
 While it is possible that Plaintiffs’ physicians could have reviewed the docetaxel labeling prior to prescribing the
drug to Plaintiffs, a showing that causation is merely possible – as opposed to plausible – is insufficient to sustain
Plaintiffs’ pleading burden at this stage. See Ashcroft, 556 U.S. at 678.

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(D.D.C. Mar. 31, 2017) (dismissing failure-to-warn claim for not pleading causation where

plaintiffs did not allege “‘facts about the timing of [each plaintiff’s] use of [the drug], the onset

of [their injuries],’ . . . . and why they think [the drug] was the cause of these injuries—let alone

why they think inadequate warnings contributed to their injuries”) (first and third alterations in

original) (quoting Salvio v. Amgen, Inc., 810 F. Supp. 2d 745, 752 (W.D. Pa. 2011)).

                       STRICT PRODUCTS LIABILITY FOR MISREPRESENTATION

         C. Plaintiffs’ Strict Products Liability for Misrepresentation Claim Fails

         Plaintiffs’ “Strict Products Liability for Misrepresentation” claim should be dismissed for

several other, independent reasons. First, many states do not recognize a cause of action based in

strict liability for misrepresentation. Since the claim is not common to Plaintiffs, it should not be

included in the Master Complaint, which is intended to consist of “common allegations.”

Compl. ¶¶ 1-2.7 Second, even in states that do recognize this claim, a plaintiff must allege an

express misrepresentation. Omissions alone are insufficient. Here, the Master Complaint asserts

that Defendants failed to disclose the alleged risk of permanent alopecia, but it does not, as

required, identify any express misrepresentation. Third, as discussed more fully in Section E.,

infra, this cause of action incorporates by reference Plaintiffs’ fraud allegations, which Plaintiffs

have not pled with the particularity required by Rule 9(b). As a result, Plaintiffs’ strict liability

for misrepresentation claim fails.




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  At a minimum, to provide Defendants with fair notice of the claims being asserted, Plaintiffs should list the states
for which they believe this cause of action is viable.

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             1. Plaintiffs’ Strict Products Liability for Misrepresentation Claim is Not
                Actionable in Many States

         In addition to the states that do not recognize strict liability causes of action at all, 8 many

other states do not recognize a claim for strict products liability based on misrepresentation. For

example, there are more than 450 MDL plaintiffs that reside in either Alabama or Louisiana, yet

these states do not permit such a claim. See Barnhill v. Teva Pharm. USA, Inc., No. 06-cv-0282,

2007 WL 6947996, at *7 (S.D. Ala. Apr. 24, 2007); Vitatoe v. Mylan Pharm., Inc., 696 F. Supp.

2d 599, 606 (N.D. W.Va. 2010). In Barnhill, the plaintiff alleged that she developed Stevens-

Johnson-Syndrome after taking a prescription antibiotic. The district court dismissed her claim

for “strict liability under § 402B, Restatement (Second) of Torts,” explaining that “Alabama has

not adopted the no-fault concept embodied in the Restatement but, instead, has retained a

negligence-based concept of liability in products liability cases.” 2007 WL 6947996 at *7

(citing Griggs v. Combe, Inc., 456 So.2d 790, 792 (Ala. 1984)).

         Similarly, in Vitatoe, in which plaintiff alleged that her son was injured by a prescription

antiepileptic medicine, the court held that under the Louisiana Products Liability Act (“LPLA”),

claims for “strict liability, negligence, breach of implied warranty, § 402B misrepresentation,

intentional conduct, reckless indifference, and malice, emotional distress, and loss of consortium

do not survive.” 696 F. Supp. 2d at 606; see also Jefferson v. Lead Indus. Ass’n, Inc., 106 F.3d




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  For example, North Carolina, Massachusetts, Virginia, and Michigan, among others, do not recognize claims for
strict liability. See N.C. GEN. STAT. § 99B-1.1 (1996) (“There shall be no strict liability in tort in product liability
actions.”); Kelley v. Eli Lilly & Co., 517 F. Supp. 2d 99, 109 (D.D.C. 2007) (“[I]n product liability cases,
Massachusetts does not have a strict liability tort apart from liability for breach of warranty under the Uniform
Commercial Code.”); Sneath v. Conair Corp., 35 Va. Cir. 127, 127 (1994) (“Virginia law has not adopted [Section]
402A of the Restatement (Second) of Torts and does not permit tort recovery on a strict-liability theory in products-
liability cases.”); Johnson v. Chrysler Corp., 254 N.W.2d 569, 571 (Mich. Ct. App. 1977) (“In Michigan, two
theories of recovery are recognized in product liability cases; negligence and implied warranty. Strict liability has
not been recognized as a third theory of recovery.”).


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1245, 1251 (5th Cir. 1997) (“A plaintiff may not recover from a manufacturer for damage caused

by a product on the basis of any theory of liability not set forth in the LPLA.”).

       Other states, including New York, Florida, and California, also do not recognize

Plaintiffs’ claim for strict liability based on misrepresentation. See, e.g., Hawkins v. Medtronic,

Inc., 62 F. Supp. 3d 1144, 1162 (E.D. Cal. 2014) (dismissing “strict products liability—

misrepresentation” claim because it “no longer appears to be viable under California law”);

DiBartolo v. Abbott Labs., 914 F. Supp. 2d 601, 623 (S.D.N.Y. 2012) (“‘New York has never

adopted the strict liability approach set forth in Section 402B of the Restatement.’”) (quoting

Prohaska v. Sofamor, S.N.C., 138 F. Supp. 3d 422, 447-48 (W.D.N.Y. 2001)); Sobkowski v.

Wyeth, Inc., No. 5:04-cv-96, 2004 WL 3569704, at *6 (M.D. Fla. May 17, 2004) (“[N]o Florida

court has ever adopted Restatement (Second) of Torts § 402B.”), report and recommendation

adopted as modified, No. 5:04-cv-96, 2004 WL 3581799 (M.D. Fla. June 24, 2004).

   Accordingly, because Plaintiffs’ claim does not “generally pertain” to Plaintiffs, the Court

should dismiss it.

   2. Plaintiffs Have Not Identified an Express Misrepresentation as Required for a Strict
      Products Liability for Misrepresentation Claim

       Where states have recognized claims for strict liability for misrepresentation, they have

relied on Section 402B of the Restatement (Second) of Torts, which provides:

       One engaged in the business of selling chattels who, by advertising, labels, or
       otherwise, makes to the public a misrepresentation of a material fact concerning
       the character or quality of a chattel sold by him is subject to liability for physical
       harm to a consumer of the chattel caused by justifiable reliance upon the
       misrepresentation, even though . . . it is not made fraudulently or negligently.

RESTATEMENT (SECOND) OF TORTS § 402B (1965).

       Such claims are derived from express warranty claims and require express

misrepresentations. See Am. Safety Equip. Corp. v. Winkler, 640 P.2d 216, 218-21 (Colo. 1982)


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(“[T]he rule stated in section 402B stems from the concept of express warranty by advertising.”);

accord Baughn v. Honda Motor Co., Ltd., 727 P.2d 655, 667 (Wash. 1986). In addition, because

Section 402B does not require scienter, courts have held that an express misrepresentation is

necessary to prevent the cause of action from becoming a form of absolute liability or displacing

other causes of action. See Franks v. Nat’l Dairy Prods. Corp., 282 F. Supp. 528 (W.D. Tex.

1968) aff’d, 414 F.2d 682 (5th Cir. 1969); see also Am. Safety Equip. Corp., 640 P.2d at 221

(“Strict tort liability for misrepresentation does not impose an insurer status upon the

manufacturer.”).

       Courts also reject strict liability claims based on implicit misrepresentations. See Franks,

282 F. Supp. at 533-34; English v. Suzuki Motor Co., Ltd., 120 F.3d 270 (10th Cir. 1997)

(unpublished) (Section 402B requires “an affirmative representation of material fact regarding

the character or quality of the product.”); Adkins v. Ford Motor Co., 446 F.2d 1105, 1108 (6th

Cir. 1971) (“[A]t the least, Tennessee law requires reliance on a particular and specific statement

concerning quality or fitness as the foundation for an action of misrepresentation under Section

402B.”); Wolfe v. McNeil-PPC, Inc., 773 F. Supp. 2d 561, 573 (E.D. Pa. 2011) (dismissing

misrepresentation claim where plaintiff failed “to identify any specific misrepresentation on the

labels about the quality of the product itself”); David M. Holliday, American Law of Products

Liability § 26:12 (3d ed. 2017) (“Since the rule is concerned with the express misstatement of a

material fact by the manufacturer, it does not apply to representations inferred from the

nondisclosure of facts, such as the absence of a warning, that allegedly causes injury.”).

       As demonstrated above, Plaintiffs’ strict liability for misrepresentation claim fails to

allege an express misrepresentation. Plaintiffs allege only that Defendants omitted a purported

risk of permanent alopecia, but that does not amount to an actionable Section 402B claim. To



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the extent that Plaintiffs have alleged that “Defendants misrepresented to the public, the FDA,

and the medical profession that Taxotere [and docetaxel] are free from permanent side effects,”

(Compl. ¶ 11), the allegation is implausible. The very labeling on which they rely contains no

such statement.        Indeed, the labeling for docetaxel has always included warnings about

potentially serious risks, including death. See, e.g., Taxotere Label, Dec. 23, 1999 (Ex. A at 1).9

Thus, Plaintiffs’ allegation is not plausible on its face. See Iqbal, 556 U.S. at 678.

    3. Plaintiffs Have Not Satisfied Rule 9(b) in Pleading a Strict Products Liability for
       Misrepresentation Claim

        As set forth more fully in Section E, infra, a heightened pleading standard applies to

averments of fraud when used to support non-fraud claims. See Am. Realty Trust, Inc. v.

Travelers Cas. & Sur. Co. of Am., 362 F. Supp. 2d 744, 749-51 (N.D. Tex. 2005). Plaintiffs’

strict liability for misrepresentation and negligent misrepresentation claims are based on the

same common allegations, incorporated by reference, that Defendants made false and misleading

statements and omissions. See, e.g., Compl. ¶ 235. But those allegations fail to satisfy Rule 9(b)

because Plaintiffs do not identify with particularity to whom, when, or how those statements

were made.

        If possible, courts should “disregard” or “strip from the claim” improperly pled

allegations of fraud, and determine whether remaining non-fraud claims survive under regular

pleading standards. Am. Realty Trust, Inc., 362 F. Supp. 2d at 751-52. But if the relevant

allegations are intertwined or if a “line-by-line redaction” would be required, dismissal is


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  The Court may take judicial notice of the Taxotere Label. See Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir.
2011) (stating that judicial notice was appropriate for “publicly available documents and transcripts produced by the
FDA, which were matters of public record and directly relevant to the issue at hand”); Pramann v. Janssen Pharm.,
Inc., No. 16-cv-12413, 2017 WL 58469, at *2 (E.D. La. Jan. 5, 2017) (taking judicial notice of “FDA approved
Risperidone label” attached to defendant’s motion to dismiss); Cooper v. Pfizer, Inc., No. 14-cv-3705, 2015 WL
2341888, at *2 (S.D. Tex. May 13, 2015) (considering “the contents of the FDA approved label” attached to
defendant’s motion to dismiss); Elmazouni v. Mylan, Inc., No. 16-cv-00574, 2016 WL 7105021, at *3 (N.D. Tex.
Dec. 1, 2016) (same).

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warranted. See id. at 752-53 (dismissing negligent misrepresentation claim where it was not

possible to “strip away inadequate allegations of fraud without ‘rewrit[ing] . . . [the] deficient

complaint’”) (quoting Lone Star Ladies Inv. Club v. Schlotzsky’s Inc., 238 F.3d 363, 368 (5th

Cir. 2001)).

       For example, in Berry v. Indianapolis Life Ins. Co., the court dismissed a claim for

negligent misrepresentation under Rule 9(b) where plaintiffs “pled negligent misrepresentation

as a lesser-included offense to their fraud claims,” and “the factual allegations underlying the

claims [we]re verbatim.” No. 3:08-cv-0248, 2010 WL 3422873, at *14 (N.D. Tex. Aug. 26,

2010). The same analysis applies and warrants dismissal here. As Plaintiffs have made no effort

to distinguish which allegations apply to which claims or which Defendants, the Court need not

engage in a line-by-line redaction to determine whether the misrepresentation claims survive.

                               BREACH OF EXPRESS WARRANTY

       D. Plaintiffs’ Breach of Express Warranty Claim Against the sanofi Defendants
          Fails

       Plaintiffs’ breach of express warranty claim is also deficient. First, the sanofi Defendants

cannot be liable for any express warranties made by other Defendants. While this cause of

action is made only against “Sanofi-Related Entities” it alleges those Defendants made express

warranties with regard to docetaxel products not made or sold by sanofi, including “Docefrez,

Docetaxel Injection, and Docetaxel Injection Concentrate.”         Compl. ¶ 313.       The sanofi

Defendants, however, cannot be held liable for how any product, other than their own, was

allegedly “warranted.” See Johnson v. Teva Pharm. USA, Inc., 758 F.3d 605, 616 & n.3 (5th Cir.

2014) (finding no liability against a name-brand manufacturer for injuries caused by ingestion of

a generic drug under Louisiana law and observing that “[o]ur decision is consistent with other

circuit decisions that have held (under the laws of several different states) that brand-name


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manufacturers are not liable for injuries caused by a plaintiffs ingestion of generic products”).

Thus, any claims regarding alleged express warranties with regard to Docefrez, Docetaxel

Injection, and Docetaxel Injection Concentrate must be dismissed.

       Second, Plaintiffs’ Master Complaint fails to allege facts sufficient to support their claim

that the sanofi Defendants breached any alleged express warranties for Taxotere. See Compl. ¶¶

312-319. Plaintiffs formulaically recite the elements of a breach of warranty action, without any

factual support. See id. at ¶¶ 313-315. Plaintiffs do not identify what or how any information

was “expressly warranted” to Plaintiffs or their prescribing physicians. See Strayhorn v. Wyeth

Pharms., Inc., 737 F.3d 378, 395 (6th Cir. 2013) (affirming dismissal of express warranty claims

where “[t]he plaintiffs’ allegations . . . do not identify any affirmation of fact made on the

product labeling that they allege to be false; rather, they allege that the labeling was

inadequate”); Utts, 2016 WL 7429449, at *13 (dismissing express warranty claim in

pharmaceutical failure-to-warn case where “[t]he complaint does not identify the express

warranties on which this claim relies, including whether they appeared in the labeling and

package inserts for the drug, which were approved by the FDA, whether they appeared in an

advertising campaign for the drug, or how the particular warranty was breached”). Like the strict

liability for misrepresentation claim, Plaintiffs’ breach of express warranty claim requires an

express warranty – not simply an alleged omission. Because Plaintiffs do not allege any express

statement by sanofi, instead arguing omission of the warning they allege should have been

included, this claim must be dismissed. See Young v. Bristol-Myers Squibb Co., No. 4:16-cv-

00108, 2017 WL 706320, at *15 n.10 (N.D. Miss. Feb. 22, 2017) (“In reaching this conclusion,

the Court notes that, while not raised by the defendants, [the plaintiff’s] breach of express

warranty claim must fail to the extent it is based on alleged omissions in [the defendant’s]



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prescribing information. An omission is neither an affirmation of fact nor a promise. See

generally Sidco Prods. Mktg. v. Gulf Oil Corp., 858 F.2d 1095, 1099 (5th Cir. 1988)

(‘Omissions, however, are not affirmative representations of any sort and thus cannot support a

warranty claim, because express warranties must be explicit.’) (applying Texas law).”); see also

Strayhorn, 737 F.3d at 395 (holding “express-warranty claims are without merit because the

labels never explicitly warranted that metoclopramide was safe for long-term use”).

       Finally, even if an express warranty existed (it did not), Plaintiffs do not identify how

they or their prescribing physicians supposedly relied on any express warranty. This Court is not

bound to accept legal conclusions couched as factual allegations as true. Iqbal, 556 U.S. at 678.

Rule 8 “demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Gulf Coast Hotel-Motel Ass’n v. Miss. Gulf Coast Golf Course Ass’n, 658 F.3d 500, 504 (5th Cir.

2011) (citing Iqbal, 556 U.S. at 678). Therefore, Plaintiffs’ breach of express warranty claim

must be dismissed for failure to state a claim. See, e.g., Parra v. Coloplast Corp., No. 16-cv-

14696, 2017 WL 24794, at *5 (E.D. La. Jan. 3, 2017); Yurcic v. Purdue Pharma, L.P., 343 F.

Supp. 2d 386, 394-95 (M.D. Pa. 2004).

                                            FRAUD

       E. Plaintiffs’ Fraud Claims Fail to Meet the Requisite Pleading Standard

           1. Rule 9(b) Applies to Plaintiffs’ Claims for Strict Products Liability for
              Misrepresentation,      Negligent     Misrepresentation,     Fraudulent
              Misrepresentation, Fraudulent Concealment, and Fraud and Deceit

       Plaintiffs’   Master   Complaint     includes   five   claims    premised      on   alleged

misrepresentations: strict products liability-misrepresentation, negligent misrepresentation,

fraudulent misrepresentation, fraudulent concealment, and fraud and deceit. These claims must

satisfy Rule 9(b). All of these claims are premised on the assertion that Defendants made false

and misleading statements and omissions.      See, e.g., Compl. ¶¶ 235, 254, 261, 268, 278.
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Because these claims allege knowing conduct, they sound in fraud and must satisfy Rule 9(b).

See Benchmark Elec., Inc. v. J.M. Huber Corp., 343 F.3d 719, 723 (5th Cir. 2003), opinion

modified on denial of reh’g, 355 F.3d 356 (5th Cir. 2003); Lone Star Ladies Inv. Club, 238 F. 3d

at 368 (“Rule 9(b) applies by its plain language to all averments of fraud, whether they are part

of a claim of fraud or not.”); In re Ford Motor Co. Vehicle Paint Litig., 1996 WL 426548, at *29

(holding plaintiffs failed to plead fraudulent concealment claim with sufficient particularly

required by Rule 9(b)); see also Hawkins v. Medtronic, Inc., No. 1:13-cv-00499, 2014 WL

346622, at *17 (E.D. Cal. Jan. 30, 2014) (dismissing strict liability for misrepresentation claim

for failing to satisfy Rule 9(b)).

            2. Plaintiffs’ Conclusory Fraud-Based Allegations Do Not Satisfy Rule 9(b)’s
               Heightened Pleading Requirements

        As Plaintiffs fail even to plead facts sufficient to meet the basic plausibility pleading

standard under Rule 8(a)(2), their fraud-based claims fall that much further short of satisfying the

heightened standard required by Rule 9(b) and must be dismissed.

        Rule 9(b) is only satisfied if the plaintiff supplies “the particulars of time, place, and

contents of the false representations, as well as the identity of the person making the

misrepresentation and what that person obtained thereby, otherwise referred to as the who, what,

when, where, and how of the alleged fraud.” U.S. ex rel. Willard v. Humana Health Plan of

Tex., Inc., 336 F.3d 375, 384 (5th Cir. 2003) (internal citations and quotation marks omitted).

Rule 9(b) is designed “to preclude litigants from filing baseless complaints and then attempting

to discover unknown wrongs.” Shushany v. Allwaste, Inc., 992 F.2d 517, 521 (5th Cir. 1993)

(citing Guidry v. Bank of LaPlace (“Guidry I”), 740 F. Supp. 1208, 1216 (E.D. La. 1990)); see

also House v. Bristol-Myers Squibb Co., No. 3:15-cv-00894, 2017 WL 55876, at *9 (W.D. Ky.




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Jan. 4, 2017) (applying Rule 9(b) heightened pleading requirements to fraud claims made in

personal injury action involving prescription medications).

         Plaintiffs allege no factual basis for their fraud claims, but rather assert only general

allegations that Defendants made representations about docetaxel through marketing or labeling.

See Compl. ¶ 260 (“Defendants represented to Plaintiffs . . . that [the products at issue] had been

tested and [were] found to be safe and effective . . .”); id. at ¶ 268 (“Defendants misrepresented

the design characteristics and safety of [the products at issue] for their intended use.”); id. at ¶

279 (“Defendants fraudulently claimed superior efficacy over other products designed to treat the

same conditions for which Taxotere was designed to treat.”).

         But Plaintiffs do not identify with particularity what, to whom, when, or how these

representations were made or specify which Defendant or Defendants made them, even though a

plaintiff “must allege specific facts supporting an inference of fraud.” Dorsey v. Portfolio

Equities, Inc., 540 F. 3d 333, 339 (5th Cir. 2008). The Fifth Circuit “interprets Rule 9(b)

strictly,” and, in order to avoid dismissal, a plaintiff must “specify the statements contended to be

fraudulent, identify the speaker, state when and where the statements were made, and explain

why the statements were fraudulent.” Id.; see also Eckhardt, 751 F.3d at 681 (finding plaintiff

failed to allege sufficient facts for his fraud claim to survive in a pharmaceutical product liability

case).   Plaintiffs have alleged none of the specific facts required, only claiming that the

unspecified representations were “material and false.” Compl. ¶ 162. This is not enough to

satisfy Rule 9(b). See Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1019 (5th Cir. 1996).

         For all of these reasons, Plaintiffs’ claims for strict liability for misrepresentation,

negligent misrepresentation, fraudulent misrepresentation, fraudulent concealment, and fraud and

deceit should be dismissed.



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IV.    CONCLUSION

       For the reasons mentioned above, Defendants request that this Court grant their Motion to

Dismiss Plaintiffs’ Master Long Form Complaint.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2017, I electronically filed the foregoing with the Clerk

of the Court using the ECF system which sent notification of such filing to all counsel of record.



                                                             /s/ Douglas J. Moore




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   IN-XXXX                                                                          Rev. mm/yy
   Rx only




                                    for Injection Concentrate
   WARNING
   TAXOTERE® (docetaxel) for Injection Concentrate should be administered under the
   supervision of a qualified physician experienced in the use of antineoplastic agents.
   Appropriate management of complications is possible only when adequate diagnostic and
   treatment facilities are readily available.
   The incidence of treatment-related mortality associated with TAXOTERE therapy is
   increased in patients with abnormal liver function , in patients receiving higher doses, and in
   patients with non-small cell lung carcinoma and a history of prior treatment with platinum-
   based chemotherapy who receive TAXOTERE at a dose of 100 mg/m2 (see
   WARNINGS).
   TAXOTERE should generally not be given to patients with bilirubin > upper limit of normal
   (ULN), or to patients with SGOT and/or SGPT >1.5 x ULN concomitant with alkaline
   phosphatase > 2.5 x ULN. Patients with elevations of bilirubin or abnormalities of
   transaminase concurrent with alkaline phosphatase are at increased risk for the development
   of grade 4 neutropenia, febrile neutropenia, infections, severe thrombocytopenia, severe
   stomatitis, severe skin toxicity, and toxic death. Patients with isolated elevations of
   transaminase > 1.5 x ULN also had a higher rate of febrile neutropenia grade 4 but did not
   have an increased incidence of toxic death. Bilirubin, SGOT or SGPT, and alkaline
   phosphatase values should be obtained prior to each cycle of TAXOTERE therapy and
   reviewed by the treating physician.
   TAXOTERE therapy should not be given to patients with neutrophil counts of
   < 1500 cells/mm3. In order to monitor the occurrence of neutropenia, which may be severe
   and result in infection, frequent blood cell counts should be performed on all patients
   receiving TAXOTERE.




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   Severe hypersensitivity reactions characterized by hypotension and/or bronchospasm, or
   generalized rash/erythema occurred in 2.2% (2/92) of patients who received the
   recommended 3-day dexamethasone premedication. Hypersensitivity reactions requiring
   discontinuation of the TAXOTERE infusion were reported in five patients who did not
   receive premedication. These reactions resolved after discontinuation of the infusion and the
   administration of appropriate therapy. TAXOTERE must not be given to patients who have
   a history of severe hypersensitivity reactions to TAXOTERE or to other drugs formulated
   with polysorbate 80 (see WARNINGS).
   Severe fluid retention occurred in 6.5% (6/92) of patients despite use of a 3-day
   dexamethasone premedication regimen. It was characterized by one or more of the
   following events: poorly tolerated peripheral edema, generalized edema, pleural effusion
   requiring urgent drainage, dyspnea at rest, cardiac tamponade, or pronounced abdominal
   distention (due to ascites) (see PRECAUTIONS).



   DESCRIPTION
   Docetaxel is an antineoplastic agent belonging to the taxoid family. It is prepared by
   semisynthesis beginning with a precursor extracted from the renewable needle biomass of
   yew plants. The chemical name for docetaxel is (2R,3S)-N-carboxy-3-phenylisoserine,N-
   tert-butyl ester, 13-ester with 5b-20-epoxy-1,2a,4,7b,10b,13a-hexahydroxytax-11-en-
   9-one 4-acetate 2-benzoate, trihydrate. Docetaxel has the following structural formula:




   Docetaxel is a white to almost-white powder with an empirical formula of C43H53NO14•
   3H2O, and a molecular weight of 861.9. It is highly lipophilic and practically insoluble in
   water. TAXOTERE (docetaxel) for Injection Concentrate is a clear yellow to brownish-
   yellow viscous solution. TAXOTERE is sterile, non-pyrogenic, and is available in single-
   dose vials containing 20 mg (0.5 mL) or 80 mg (2.0 mL) docetaxel (anhydrous). Each mL
   contains 40 mg docetaxel (anhydrous) and 1040 mg polysorbate 80.


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   TAXOTERE for Injection Concentrate requires dilution prior to use. A sterile, non-
   pyrogenic, single-dose diluent is supplied for that purpose. The diluent for TAXOTERE
   contains 13% ethanol in Water for Injection, and is supplied in 1.5 mL (to be used with 20
   mg TAXOTERE for Injection Concentrate) and 6.0 mL (to be used with 80 mg
   TAXOTERE for Injection Concentrate) vials.
   CLINICAL PHARMACOLOGY
   Docetaxel is an antineoplastic agent that acts by disrupting the microtubular network in cells
   that is essential for mitotic and interphase cellular functions. Docetaxel binds to free tubulin
   and promotes the assembly of tubulin into stable microtubules while simultaneously inhibiting
   their disassembly. This leads to the production of microtubule bundles without normal
   function and to the stabilization of microtubules, which results in the inhibition of mitosis in
   cells. Docetaxel’s binding to microtubules does not alter the number of protofilaments in the
   bound microtubules, a feature which differs from most spindle poisons currently in clinical
   use.
   HUMAN PHARMACOKINETICS
   The pharmacokinetics of docetaxel have been evaluated in cancer patients after
   administration of 20-115 mg/m2 in phase I studies. The area under the curve (AUC) was
   dose proportional following doses of 70-115 mg/m2 with infusion times of 1 to
   2 hours. Docetaxel’s pharmacokinetic profile is consistent with a three-compartment
   pharmacokinetic model, with half-lives for the a, b, and g phases of 4 min, 36 min, and
   11.1 hr, respectively. The initial rapid decline represents distribution to the peripheral
   compartments and the late (terminal) phase is due, in part, to a relatively slow efflux of
   docetaxel from the peripheral compartment. Mean values for total body clearance and
   steady state volume of distribution were 21 L/h/m2 and 113 L, respectively. Mean total
   body clearance for Japanese patients dosed at the range of 10-90 mg/m2 was similar to that
   of European/American populations dosed at 100 mg/m2, suggesting no significant difference
   in the elimination of docetaxel in the two populations.
   A study of 14C-docetaxel was conducted in three cancer patients. Docetaxel was eliminated
   in both the urine and feces following oxidative metabolism of the
   tert-butyl ester group, but fecal excretion was the main elimination route. Within
   7 days, urinary and fecal excretion accounted for approximately 6% and 75% of the
   administered radioactivity, respectively. About 80% of the radioactivity recovered in feces
   is excreted during the first 48 hours as 1 major and 3 minor metabolites with very small
   amounts (less than 8%) of unchanged drug.
   A population pharmacokinetic analysis was carried out after TAXOTERE treatment of 535
   patients dosed at 100 mg/m2. Pharmacokinetic parameters estimated by this analysis were
   very close to those estimated from phase I studies. The pharmacokinetics of docetaxel were
   not influenced by age or gender and docetaxel total body clearance was not modified by
   pretreatment with dexamethasone. In patients with clinical chemistry data suggestive of mild
   to moderate liver function impairment (SGOT and/or SGPT >1.5 times the upper limit of
   normal [ULN] concomitant with alkaline phosphatase >2.5 times ULN), total body
   clearance was lowered by an average of 27%, resulting in a 38% increase in systemic


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   exposure (AUC). This average, however, includes a substantial range and there is, at
   present, no measurement that would allow recommendation for dose adjustment in such
   patients. Patients with combined abnormalities of transaminase and alkaline phosphatase
   should, in general, not be treated with TAXOTERE.
   In vitro studies showed that docetaxel is about 94% protein bound, mainly to a 1-acid
   glycoprotein, albumin, and lipoproteins. In three cancer patients, the in vitro binding to
   plasma proteins was found to be approximately 97%. Dexamethasone does not affect the
   protein binding of docetaxel.
   In vitro drug interaction studies revealed that docetaxel is metabolized by the CYP3A4
   isoenzyme, and its metabolism can be inhibited by CYP3A4 inhibitors, such as
   ketoconazole, erythromycin, troleandomycin, and nifedipine. Based on in vitro findings, it
   is likely that CYP3A4 inhibitors and/or substrates may lead to substantial increases in
   docetaxel blood concentrations. No clinical studies have been performed to evaluate this
   finding (see PRECAUTIONS).

   CLINICAL STUDIES
   Breast Cancer: The efficacy and safety of TAXOTERE have been evaluated in locally
   advanced or metastatic breast cancer after failure of previous chemotherapy (alkylating
   agent-containing regimens or anthracycline-containing regimens), primarily at a dose of
   100 mg/m2 given as a 1-hour infusion every 3 weeks, but with some experience at
   60 mg/m2, in two large randomized trials and a number of smaller single arm studies.
   Randomized Trials: In one randomized trial, patients with a history of prior treatment with
   an anthracycline-containing regimen were assigned to treatment with TAXOTERE or the
   combination of mitomycin (12 mg/m2 every 6 weeks) and vinblastine (6 mg/m2 every 3
   weeks). 203 patients were randomized to TAXOTERE and 189 to the comparator arm.
   Most patients had received prior chemotherapy for metastatic disease; only 27 patients on
   the TAXOTERE arm and 33 patients on the comparator arm entered the study following
   relapse after adjuvant therapy. Three-quarters of patients had measurable, visceral
   metastases. The primary endpoint was time to progression. The following table summarizes
   the study results:
            Efficacy of TAXOTERE in the Treatment of Breast Cancer Patients
               Previously Treated with an Anthracycline-Containing Regimen
                                   (Intent-to-Treat Analysis)
   Efficacy Parameter                    Docetaxel            Mitomycin/          p-value
                                                              Vinblastine
                                          (N=203)              (N=189)
   Median Survival                      11.4 months           8.7 months
   Risk Ratio*, Mortality
   (Docetaxel:Control)                                0.73                        p=0.01
                                                                                 Log Rank


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   95% CI (Risk Ratio)                                0.58-0.93
   Median Time to                       4.3 months                2.5 months
   Progression
   Risk Ratio*, Progression                                                      p=0.01
   (Docetaxel:Control)                                  0.75                    Log Rank
   95% CI (Risk Factor)                               0.61-0.94
   Overall Response Rate                   28.1%                    9.5%        p<0.0001
   Complete Response Rate                   3.4%                    1.6%        Chi Square
   *For the risk ratio, a value less than 1.00 favors docetaxel.
   In a second randomized trial, patients previously treated with an alkylating-containing
   regimen were assigned to treatment with TAXOTERE or doxorubicin (75 mg/m2 every 3
   weeks). 161 patients were randomized to TAXOTERE and 165 patients to doxorubicin.
   Approximately one-half of patients had received prior chemotherapy for metastatic disease,
   and one-half entered the study following relapse after adjuvant therapy. Three-quarters of
   patients had measurable, visceral metastases. The primary endpoint was time to
   progression. The study results are summarized below:
            Efficacy of TAXOTERE in the Treatment of Breast Cancer Patients
                 Previously Treated with an Alkylating-Containing Regimen
                                     (Intent-to-Treat Analysis)
   Efficacy Parameter                   Docetaxel              Doxorubicin       p-value
                                         (N=161)                  (165)
   Median Survival                      14.7 months            14.3 months
   Risk Ratio*, Mortality
   (Docetaxel:Control)                                  0.89                     p=0.39
                                                                                Log Rank
   95% CI (Risk Ratio)                                0.68-1.16
   Median Time to
   Progression                          6.5 months                5.3 months
   Risk Ratio*, Progression                                                      p=0.45
   (Docetaxel:Control)                                  0.93                    Log Rank
   95% CI (Risk Ratio)                                0.71-1.16
   Overall Response Rate                   45.3%                   29.7%         p=0.004
   Complete Response Rate                   6.8%                    4.2%        Chi Square
   *For the risk ratio, a value less than 1.00 favors docetaxel.
   Single Arm Studies: TAXOTERE at a dose of 100 mg/m2 was studied in six single arm
   studies involving a total of 309 patients with metastatic breast cancer in whom previous
   chemotherapy had failed. Among these, 190 patients had anthracycline-resistant breast


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   cancer, defined as progression during an anthracycline-containing chemotherapy regimen for
   metastatic disease, or relapse during an anthracycline-containing adjuvant regimen. In
   anthracycline-resistant patients, the overall response rate was 37.9% (72/190; 95% C.I.:
   31.0-44.8) and the complete response rate was 2.1%.
   TAXOTERE was also studied in three single arm Japanese studies at a dose of
   60 mg/m2, in 174 patients who had received prior chemotherapy for locally advanced or
   metastatic breast cancer. Among 26 patients whose best response to an anthracycline had
   been progression, the response rate was 34.6%
   (95% C.I.: 17.2-55.7), similar to the response rate in single arm studies of 100 mg/m2.
   Hematologic and Other Toxicity: Relation to dose and baseline liver chemistry
   abnormalities. Hematologic and other toxicity is increased at higher doses and in patients
   with elevated baseline liver function tests (LFTs). In the following tables, adverse drug
   reactions are compared for three populations: 730 patients with normal LFTs given
   TAXOTERE at 100 mg/m2 in the randomized and single arm studies of metastatic breast
   cancer after failure of previous chemotherapy; 18 patients in these studies who had
   abnormal baseline LFTs (defined as SGOT and/or SGPT > 1.5 times ULN concurrent with
   alkaline phosphatase > 2.5 times ULN); and 174 patients in Japanese studies given
   TAXOTERE at 60 mg/m2 who had normal LFTs.
                    Hematologic Adverse Events in Breast Cancer Patients
                             Previously Treated with Chemotherapy
             Treated at TAXOTERE 100 mg/m2 with Normal or Elevated Liver
                Function Tests or 60 mg/m2 with Normal Liver Function Tests
                                                        TAXOTERE            TAXOTERE
                                                         100 mg/m2           60 mg/m2
                                                      Normal Elevated         Normal
                                                      LFTs*    LFTs**         LFTs*
   Adverse Event                                      n=730     n=18          n=174
                                                        %        %              %
   Neutropenia
      Any        <2000 cells/mm3                       98.4          100         95.4
      Grade 4     <500 cells/mm3                       84.4          93.8        74.9
   Thrombocytopenia
      Any         <100,000 cells/mm3                   10.8          44.4        14.4
      Grade 4     <20,000 cells/mm3                     0.6          16.7         1.1
   Anemia <11 g/dL                                     94.6          94.4        64.9
   Infection***
      Any                                              22.5          38.9         1.1
      Grade 3 and 4                                     7.1          33.3          0
   Febrile Neutropenia****
      By Patient                                       11.8          33.3          0
      By Course                                         2.4           8.6          0


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   Septic Death                                    1.5             5.6     1.1
   Non-Septic Death                                1.1            11.1      0
   *Normal Baseline LFTs: Transaminases } 1.5 times ULN or alkaline phosphatase
    } 2.5 times ULN or isolated elevations of transaminases or alkaline phosphatase
    up to 5 times ULN
   **Elevated Baseline LFTs: SGOT and/or SGPT >1.5 times ULN concurrent with
     alkaline phosphatase >2.5 times ULN
   ***Incidence of infection requiring hospitalization and/or intravenous antibiotics
      was 8.5% (n=62) among the 730 patients with normal LFTs at baseline; 7
      patients had concurrent grade 3 neutropenia, and 46 patients had grade 4
      neutropenia.
   ****Febrile Neutropenia: For 100 mg/m2, ANC grade 4 and fever > 38° C with IV
        antibiotics and/or hospitalization; for 60 mg/m2, ANC grade 3/4 and fever >
        38.1° C




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                Non-Hematologic Adverse Events in Breast Cancer Patients
                           Previously Treated with Chemotherapy
              Treated at TAXOTERE 100 mg/m2 with Normal or Elevated Liver
                Function Tests or 60 mg/m2 with Normal Liver Function Tests
                                                     TAXOTERE             TAXOTERE
                                                      100 mg/m2            60 mg/m2
                                               Normal         Elevated     Normal
                                               LFTs*          LFTs**       LFTs*
   Adverse Event                               n=730           n=18        n=174
                                                 %               %           %
   Acute Hypersensitivity Reaction
    Regardless of Premedication
        Any                                      13.0               5.6      0.6
        Severe                                    1.2                0        0
   Fluid Retention***
      Regardless of Premedication
         Any                                     56.2           61.1        12.6
         Severe                                   7.9           16.7         0
   Neurosensory
        Any                                      56.8               50      19.5
        Severe                                    5.8                0       0
   Myalgia                                       22.7           33.3         3.4
   Cutaneous
        Any                                      44.8           61.1        30.5
        Severe                                    4.8           16.7         0
   Asthenia
        Any                                      65.2           44.4        65.5
        Severe                                   16.6           22.2         0
   Diarrhea
         Any                                     42.2           27.8         NA
         Severe                                   6.3           11.1
   Stomatitis
        Any                                      53.3           66.7        19.0
        Severe                                    7.8           38.9         0.6
   *Normal Baseline LFTs: Transaminases } 1.5 times ULN or alkaline phosphatase
    } 2.5 times ULN or isolated elevations of transaminases or alkaline phosphatase
    up to 5 times ULN


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   ** Elevated Baseline Liver Function: SGOT and/or SGPT >1.5 times ULN
      concurrent with alkaline phosphatase >2.5 times ULN
   ***Fluid Retention includes (by COSTART): edema (peripheral, localized,
       generalized, lymphedema, pulmonary edema, and edema otherwise not
       specified) and effusion (pleural, pericardial, and ascites); no premedication
       given with the 60 mg/m2 dose
   NA = not available

   Non-Small Cell Lung Cancer (NSCLC):

   The efficacy and safety of TAXOTERE in non-small cell lung cancer have been evaluated in
   patients with locally advanced or metastatic disease and a history of prior treatment with a
   platinum-based chemotherapy regimen. Two randomized, controlled trials established that
   a TAXOTERE dose of 75 mg/m2 was tolerable and yielded a favorable outcome (see
   below). TAXOTERE at a dose of 100 mg/m2, however, was associated with unacceptable
   hematologic toxicity, infections, and treatment-related mortality and this dose should not be
   used (see BOXED WARNING, WARNINGS, and DOSAGE AND
   ADMINISTRATION sections).

   One trial (TAX317), randomized patients with locally advanced or metastatic non-small cell
   lung cancer, a history of prior platinum-based chemotherapy, no history of taxane exposure,
   and an ECOG performance status £2 to TAXOTERE or best supportive care. The
   primary endpoint of the study was survival. Patients were initially randomized to
   TAXOTERE 100 mg/m2 or best supportive care, but early toxic deaths at this dose led to a
   dose reduction to TAXOTERE 75 mg/m2. A total of 104 patients were randomized in this
   amended study to either TAXOTERE 75 mg/m2 or best supportive care.

   In a second randomized trial (TAX320), 373 patients with locally advanced or metastatic
   non-small cell lung cancer, a history of prior platinum-based chemotherapy, and an ECOG
   performance status £2 were randomized to TAXOTERE 75 mg/m2, TAXOTERE 100
   mg/m2 and a treatment in which the investigator chose either vinorelbine 30 mg/m2 days 1, 8,
   and 15 repeated every 3 weeks or ifosfamide 2 g/m2 days 1-3 repeated every 3 weeks.
   Forty percent of the patients in this study had a history of prior paclitaxel exposure. The
   primary endpoint was survival in both trials. The efficacy data for the TAXOTERE 75
   mg/m2 arm and the comparator arms are summarized in the table below and in figures 1 and
   2 showing the survival curves for the two studies.




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    Efficacy of TAXOTERE in the Treatment of Non-Small Cell Lung Cancer Patients
            Previously Treated with a Platinum-Based Chemotherapy Regimen
                                (Intent-to-Treat Analysis)

                                             TAX317                                  TAX 320
                                    Docetaxel        Best                   Docetaxel        Control
                                            2                                      2
                                    75 mg/m       Supportive                75 mg/m           (V/I)
                                     N = 55         Care/75                   N=125                  N= 123
                                                            N = 49
       Overall Survival
                                                 p = 0.01                                 p = 0.13
        Log-rank Test
     Risk Ratio#, Mortality
                                                   0.56                                    0.82
     (Docetaxel:Control)
      95% CI (Risk Ratio)                     (0.35, 0.88)                            (0.63, 1.06)

       Median Survival              7.5 months*           4.6 months        5.7 months            5.6 months

              95% CI                 (5.5, 12.8)            (3.7, 6.1)       (5.1, 7.1)              (4.4, 7.9)

      % 1-year Survival               37%*@                   12%             30%*@                    20%

              95% CI                  (24, 50)               (2, 23)          (22, 39)               (13, 27)


     Time to Progression           12.3 weeks*            7.0 weeks         8.3 weeks             7.6 weeks

              95% CI                 (9.0, 18.3)            (6.0, 9.3)      (7.0, 11.7)           (6.7, 10.1)


       Response Rate                   5.5%             Not Applicable         5.7%                    0.8%

              95% CI                (1.1, 15.1))                            (2.3, 11.3)              (0.0, 4.5)
   * p£0.05; @ uncorrected for multiple comparisons; # a value less than 1.00 favors
   docetaxel.

   Only one of the two trials (TAX317) showed a clear effect on survival, the primary
   endpoint; that trial also showed an increased rate of survival to one year. In the second
   study (TAX320) the rate of survival at one year favored TAXOTERE 75 mg/m2.




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   TAX 317 Survival K-M Curves - Docetaxel 75 mg/m2 Vs. Best Supportive Care




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   TAX 320 Survival K-M Curves - Docetaxel 75 mg/m2 Vs. Vinorelbine or
   Ifosfamide Control




   Patients treated with TAXOTERE at a dose of 75mg/m2 experienced no deterioration in
   performance status and body weight relative to the comparator arms used in these trials.

   INDICATIONS AND USAGE
   Breast Cancer: TAXOTERE® (docetaxel) for Injection Concentrate is indicated for the
   treatment of patients with locally advanced or metastatic breast cancer after failure of prior
   chemotherapy.
   Non-Small Cell Lung Cancer: TAXOTERE® (docetaxel) for Injection Concentrate is
   indicated for the treatment of patients with locally advanced or metastatic non-small cell lung
   cancer after failure of prior platinum-based chemotherapy.




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   CONTRAINDICATIONS
   TAXOTERE is contraindicated in patients who have a history of severe hypersensitivity
   reactions to docetaxel or to other drugs formulated with polysorbate 80.
   TAXOTERE should not be used in patients with neutrophil counts of
   <1500 cells/mm3.
   WARNINGS
   TAXOTERE (docetaxel) for Injection Concentrate should be administered under the
   supervision of a qualified physician experienced in the use of antineoplastic agents.
   Appropriate management of complications is possible only when adequate diagnostic and
   treatment facilities are readily available.
   Toxic Deaths : Breast Cancer: TAXOTERE administered at 100 mg/m2 was associated
   with deaths considered possibly or probably related to treatment in 2.0% (19/965) of
   metastatic breast cancer patients, both previously treated and untreated, with normal
   baseline liver function and in 11.5% (7/61) of patients with various tumor types who had
   abnormal baseline liver function (SGOT and/or SGPT > 1.5 times ULN together with AP >
   2.5 times ULN). Among patients dosed at 60 mg/m2, mortality related to treatment
   occurred in 0.6% (3/481) of patients with normal liver function, and in 3 of 7 patients with
   abnormal liver function. Approximately half of these deaths occurred during the first cycle.
   Sepsis accounted for the majority of the deaths.
   Non-Small Cell Lung Cancer: TAXOTERE administered at a dose of 100 mg/m2 in patients
   with locally advanced or metastatic non-small cell lung cancer who had a history of prior
   platinum-based chemotherapy was associated with increased treatment-related mortality
   (14% and 5% in two randomized, controlled studies). There were 2.8% treatment-related
   deaths among the 176 patients treated at the 75 mg/m2 dose in the randomized trials.
   Among patients who experienced treatment-related mortality at the 75 mg/m2 dose level, 3
   of 5 patients had a PS of 2 at study entry. See BOXED WARNING, CLINICAL
   STUDIES, and DOSAGE AND ADMINISTRATION sections).
   Premedication Regimen: All patients should be premedicated with oral corticosteroids
   such as dexamethasone 16 mg per day (e.g., 8 mg BID) for 3 days starting 1 day prior to
   TAXOTERE to reduce the severity of fluid retention and hypersensitivity reactions (see
   DOSAGE AND ADMINISTRATION section). This regimen was evaluated in 92
   patients with metastatic breast cancer previously treated with chemotherapy given
   TAXOTERE at a dose of 100 mg/m2 every 3 weeks.
   Hypersensitivity Reactions: Patients should be observed closely for hypersensitivity
   reactions, especially during the first and second infusions. Severe hypersensitivity reactions
   characterized by hypotension and/or bronchospasm, or generalized rash/erythema occurred
   in 2.2% of the 92 patients premedicated with 3-day corticosteroids. Hypersensitivity
   reactions requiring discontinuation of the TAXOTERE infusion were reported in 5 out of
   1260 patients with various tumor types who did not receive premedication, but in 0/92
   patients premedicated with
   3-day corticosteroids. Patients with a history of severe hypersensitivity reactions should not
   be rechallenged with TAXOTERE.


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   Hematologic Effects: Neutropenia (< 2000 neutrophils/mm3) occurs in virtually all
   patients given 60-100 mg/m2 of TAXOTERE and grade 4 neutropenia
   (< 500 cells/mm3) occurs in 85% of patients given 100 mg/m2 and 75% of patients given 60
   mg/m2. Frequent monitoring of blood counts is, therefore, essential so that dose can be
   adjusted. TAXOTERE should not be administered to patients with neutrophils < 1500
   cells/mm3.
   Febrile neutropenia occurred in about 12% of patients given 100 mg/m2 but was very
   uncommon in patients given 60 mg/m2. Hematologic responses, febrile reactions and
   infections, and rates of septic death for different regimens are dose related and are
   described in CLINICAL STUDIES.
   Three breast cancer patients with severe liver impairment (bilirubin > 1.7 times ULN)
   developed fatal gastrointestinal bleeding associated with severe drug-induced
   thrombocytopenia.
   Hepatic Impairment: (see BOXED WARNING).
   Fluid Retention: (see BOXED WARNING).
   Pregnancy: TAXOTERE can cause fetal harm when administered to pregnant women.
   Studies in both rats and rabbits at doses ³ 0.3 and 0.03 mg/kg/day, respectively (about
   1Ú50 and 1Ú300 the daily maximum recommended human dose on a mg/m2 basis),
   administered during the period of organogenesis, have shown that TAXOTERE is
   embryotoxic and fetotoxic (characterized by intrauterine mortality, increased resorption,
   reduced fetal weight, and fetal ossification delay). The doses indicated above also caused
   maternal toxicity.
   There are no adequate and well-controlled studies in pregnant women using TAXOTERE.
   If TAXOTERE is used during pregnancy, or if the patient becomes pregnant while receiving
   this drug, the patient should be apprised of the potential hazard to the fetus or potential risk
   for loss of the pregnancy. Women of childbearing potential should be advised to avoid
   becoming pregnant during therapy with TAXOTERE.
   PRECAUTIONS
   General: Responding patients may not experience an improvement in performance status
   on therapy and may experience worsening. The relationship between changes in
   performance status, response to therapy, and treatment-related side effects has not been
   established.
   Hematologic Effects: In order to monitor the occurrence of myelotoxicity, it is
   recommended that frequent peripheral blood cell counts be performed on all patients
   receiving TAXOTERE. Patients should not be retreated with subsequent cycles of
   TAXOTERE until neutrophils recover to a level > 1500 cells/mm3 and platelets recover to a
   level > 100,000 cells/mm3.
   A 25% reduction in the dose of TAXOTERE is recommended during subsequent cycles
   following severe neutropenia (< 500 cells/mm3) lasting 7 days or more, febrile neutropenia,
   or a grade 4 infection in a TAXOTERE® (docetaxel) for Injection Concentrate cycle (see
   DOSAGE AND ADMINISTRATION section).


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   Hypersensitivity Reactions: Hypersensitivity reactions may occur within a few minutes
   following initiation of a TAXOTERE infusion. If minor reactions such as flushing or localized
   skin reactions occur, interruption of therapy is not required. More severe reactions,
   however, require the immediate discontinuation of TAXOTERE and aggressive therapy. All
   patients should be premedicated with an oral corticosteroid prior to the initiation of the
   infusion of TAXOTERE (see BOXED WARNING and WARNINGS: Premedication
   Regimen).
   Cutaneous: Localized erythema of the extremities with edema followed by desquamation
   has been observed. In case of severe skin toxicity, an adjustment in dosage is
   recommended (see DOSAGE AND ADMINISTRATION section). The discontinuation
   rate due to skin toxicity was 1.6% (15/965) for metastatic breast cancer patients. Among
   92 breast cancer patients premedicated with 3-day corticosteroids, there were no cases of
   severe skin toxicity reported and no patient discontinued TAXOTERE due to skin toxicity.
   Fluid Retention: Severe fluid retention has been reported following TAXOTERE therapy
   (see BOXED WARNING and WARNINGS: Premedication Regimen). Patients
   should be premedicated with oral corticosteroids prior to each TAXOTERE administration
   to reduce the incidence and severity of fluid retention (see DOSAGE AND
   ADMINISTRATION section). Patients with pre-existing effusions should be closely
   monitored from the first dose for the possible exacerbation of the effusions.
   When fluid retention occurs, peripheral edema usually starts in the lower extremities and
   may become generalized with a median weight gain of 2 kg.
   Among 92 breast cancer patients premedicated with 3-day corticosteroids, moderate fluid
   retention occurred in 27.2% and severe fluid retention in 6.5%. The median cumulative dose
   to onset of moderate or severe fluid retention was 819 mg/m2.
   9.8% (9/92) of patients discontinued treatment due to fluid retention: 4 patients discontinued
   with severe fluid retention; the remaining 5 had mild or moderate fluid retention. The median
   cumulative dose to treatment discontinuation due to fluid retention was 1021 mg/m2. Fluid
   retention was completely, but sometimes slowly, reversible with a median of 16 weeks from
   the last infusion of TAXOTERE to resolution (range: 0 to 42+ weeks). Patients developing
   peripheral edema may be treated with standard measures, e.g., salt restriction, oral
   diuretic(s).
   Neurologic: Severe neurosensory symptoms (paresthesia, dysesthesia, pain) were
   observed in 5.5% (53/965) of metastatic breast cancer patients, and resulted in treatment
   discontinuation in 6.1%. When these symptoms occur, dosage must be adjusted. If
   symptoms persist, treatment should be discontinued (see DOSAGE AND
   ADMINISTRATION section). Patients who experienced neurotoxicity in clinical trials
   and for whom follow-up information on the complete resolution of the event was available
   had spontaneous reversal of symptoms with a median of 9 weeks from onset (range: 0 to
   106 weeks). Severe peripheral motor neuropathy mainly manifested as distal extremity
   weakness occurred in 4.4% (42/965).
   Asthenia: Severe asthenia has been reported in 14.9% (144/965) of metastatic breast
   cancer patients but has led to treatment discontinuation in only 1.8%. Symptoms of fatigue


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   and weakness may last a few days up to several weeks and may be associated with
   deterioration of performance status in patients with progressive disease.
   Information for Patients: For additional information, see the accompanying Patient
   Information Leaflet.
   Drug Interactions: There have been no formal clinical studies to evaluate the drug
   interactions of TAXOTERE with other medications. In vitro studies have shown that the
   metabolism of docetaxel may be modified by the concomitant administration of compounds
   that induce, inhibit, or are metabolized by cytochrome P450 3A4, such as cyclosporine,
   terfenadine, ketoconazole, erythromycin, and troleandomycin. Caution should be exercised
   with these drugs when treating patients receiving TAXOTERE as there is a potential for a
   significant interaction.
   Carcinogenicity, Mutagenicity, Impairment of Fertility: No studies have been
   conducted to assess the carcinogenic potential of TAXOTERE. TAXOTERE has been
   shown to be clastogenic in the in vitro chromosome aberration test in CHO-K1 cells and in
   the in vivo micronucleus test in the mouse, but it did not induce mutagenicity in the Ames
   test or the CHO/HGPRT gene mutation assays. TAXOTERE produced no impairment of
   fertility in rats when administered in multiple IV doses of up to
   0.3 mg/kg (about 1Ú50 the recommended human dose on a mg/m2 basis), but decreased
   testicular weights were reported. This correlates with findings of a 10-cycle toxicity study
   (dosing once every 21 days for 6 months) in rats and dogs in which testicular atrophy or
   degeneration was observed at IV doses of 5 mg/kg in rats and 0.375 mg/kg in dogs (about
   1Ú3 and 1Ú15 the recommended human dose on a mg/m2 basis, respectively). An
   increased frequency of dosing in rats produced similar effects at lower dose levels.
   Pregnancy: Pregnancy Category D (see WARNINGS section).
   Nursing Mothers: It is not known whether TAXOTERE is excreted in human milk.
   Because many drugs are excreted in human milk, and because of the potential for serious
   adverse reactions in nursing infants from TAXOTERE, mothers should discontinue nursing
   prior to taking the drug.
   Pediatric Use: The safety and effectiveness of TAXOTERE in pediatric patients have not
   been established.
   ADVERSE REACTIONS
   The adverse reactions are described separately for TAXOTERE 100 mg/m2, the maximum
   dose approved for breast cancer, and 75 mg/m2, the dose approved for advanced non-
   small cell lung carcinoma after prior platinum-based chemotherapy.

   TAXOTERE 100 mg/m2: Adverse drug reactions occurring in at least 5% of patients are
   compared for three populations who received TAXOTERE administered at 100 mg/m2 as a
   1-hour infusion every 3 weeks: 2045 patients with various tumor types and normal baseline
   liver function tests; the subset of 965 patients with locally advanced or metastatic breast
   cancer, both previously treated and untreated with chemotherapy, who had normal baseline
   liver function tests; and an additional 61 patients with various tumor types who had


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   abnormal liver function tests at baseline. These reactions were described using COSTART
   terms and were considered possibly or probably related to TAXOTERE. At least 95% of
   these patients did not receive hematopoietic support. The safety profile is generally similar in
   patients receiving TAXOTERE for the treatment of breast cancer and in patients with other
   tumor types.




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                     Summary of Adverse Events in Patients Receiving
                              TAXOTERE at 100 mg/m2
                                                 All Tumor         All Tumor   Breast
                                                   Types             Types     Cancer
                                                  Normal           Elevated    Normal
                                                  LFTs*             LFTs**     LFTs*
   Adverse Event                                  n=2045             n=61      n=965
                                                     %                 %         %
   Hematologic
   Neutropenia
     <2000 cells/mm3                                95.5             96.4       98.5
     <500 cells/mm3                                 75.4             87.5       85.9
   Leukopenia
     <4000 cells/mm3                                95.6             98.3       98.6
     <1000 cells/mm3                                31.6             46.6       43.7
   Thrombocytopenia
     <100,000 cells/mm3                              8.0             24.6       9.2
   Anemia
     <11 g/dL                                       90.4             91.8       93.6
     <8 g/dL                                         8.8             31.1        7.7
   Febrile Neutropenia***                           11.0             26.2       12.3
   Septic Death                                      1.6              4.9       1.4
   Non-Septic Death                                  0.6              6.6       0.6
   Infections
     Any                                            21.6             32.8       22.2
     Severe                                          6.1             16.4        6.4
   Fever in Absence of Infection
    Any                                             31.2             41.0       35.1
    Severe                                           2.1              8.2        2.2
   Hypersensitivity Reactions
   Regardless of Premedication
    Any                                             21.0             19.7       17.6
    Severe                                           4.2              9.8        2.6
   With 3-day Premedication                         n=92             n=3        n=92
    Any                                             15.2             33.3       15.2
    Severe                                           2.2              0          2.2
   Fluid Retention


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   Regardless of Premedication
    Any                                                47.0           39.3   59.7
    Severe                                              6.9            8.2    8.9
   With 3-day Premedication                            n=92           n=3    n=92
    Any                                                64.1           66.7   64.1
    Severe                                              6.5           33.3    6.5
   Neurosensory
    Any                                                49.3           34.4   58.3
    Severe                                              4.3            0      5.5
   Cutaneous
    Any                                                47.6           54.1   47.0
    Severe                                              4.8            9.8    5.2
   Nail Changes
    Any                                                30.6           23.0   40.5
    Severe                                              2.5            4.9    3.7
   Gastrointestinal
    Nausea                                             38.8           37.7   42.1
    Vomiting                                           22.3           23.0   23.4
    Diarrhea                                           38.7           32.8   42.6
        Severe                                          4.7            4.9    5.5
   Stomatitis
     Any                                               41.7           49.2   51.7
     Severe                                             5.5           13.0    7.4
   Alopecia                                            75.8           62.3   74.2
   Asthenia
    Any                                                61.8           52.5   66.3
    Severe                                             12.8           24.6   14.9
   Myalgia
    Any                                                18.9           16.4   21.1
    Severe                                              1.5            1.6    1.8
   Arthralgia                                            9.2           6.6    8.2
   Infusion Site Reactions                               4.4           3.3    4.0
   *Normal Baseline LFTs: Transaminases } 1.5 times ULN or alkaline phosphatase
    } 2.5 times ULN or isolated elevations of transaminases or alkaline phosphatase
    up to 5 times ULN
   **Elevated Baseline LFTs: SGOT and/or SGPT > 1.5 times ULN concurrent with
     alkaline phosphatase > 2.5 times ULN


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   ***Febrile Neutropenia: ANC grade 4 with fever > 38oC with IV antibiotics and/or
       hospitalization
   Hematologic: (see WARNINGS). Reversible marrow suppression was the major dose-
   limiting toxicity of TAXOTERE. The median time to nadir was 7 days, while the median
   duration of severe neutropenia (<500 cells/mm3) was 7 days. Among
   2045 patients with solid tumors and normal baseline LFTs, severe neutropenia occurred in
   75.4% and lasted for more than 7 days in 2.9% of cycles.
   Febrile neutropenia (<500 cells/mm3 with fever > 38oC with IV antibiotics and/or
   hospitalization) occurred in 11% of patients with solid tumors, in 12.3% of patients with
   metastatic breast cancer, and in 9.8% of 92 breast cancer patients premedicated with 3-day
   corticosteroids.
   Severe infectious episodes occurred in 6.1% of patients with solid tumors, in 6.4% of
   patients with metastatic breast cancer, and in 5.4% of 92 breast cancer patients
   premedicated with 3-day corticosteroids.
   Thrombocytopenia (<100,000 cells/mm3) associated with fatal gastrointestinal hemorrhage
   has been reported.
   Hypersensitivity Reactions: Severe hypersensitivity reactions are discussed in the
   BOXED WARNING, WARNINGS, and PRECAUTIONS sections. Minor events,
   including flushing, rash with or without pruritus, chest tightness, back pain, dyspnea, drug
   fever, or chills, have been reported and resolved after discontinuing the infusion and
   appropriate therapy.
   Fluid Retention: (see BOXED WARNING, WARNINGS: Premedication Regimen,
   and PRECAUTIONS sections).
   Cutaneous: Severe skin toxicity is discussed in PRECAUTIONS. Reversible cutaneous
   reactions characterized by a rash including localized eruptions, mainly on the feet and/or
   hands, but also on the arms, face, or thorax, usually associated with pruritus, have been
   observed. Eruptions generally occurred within 1 week after TAXOTERE infusion,
   recovered before the next infusion, and were not disabling.
   Severe nail disorders were characterized by hypo- or hyperpigmentation, and occasionally
   by onycholysis (in 0.8% of patients with solid tumors) and pain.
   Neurologic: (see PRECAUTIONS).
   Gastrointestinal: Gastrointestinal reactions (nausea and/or vomiting and/or diarrhea) were
   generally mild to moderate. Severe reactions occurred in 3-5% of patients with solid tumors
   and to a similar extent among metastatic breast cancer patients. The incidence of severe
   reactions was 1% or less for the 92 breast cancer patients premedicated with 3-day
   corticosteroids.
   Severe stomatitis occurred in 5.5% of patients with solid tumors, in 7.4% of patients with
   metastatic breast cancer, and in 1.1% of the 92 breast cancer patients premedicated with 3-
   day corticosteroids.
   Cardiovascular: Hypotension occurred in 2.8% of patients with solid tumors; 1.2%
   required treatment. Clinically meaningful events such as heart failure, sinus tachycardia, atrial


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   flutter, dysrhythmia, unstable angina, pulmonary edema, and hypertension occurred rarely.
   8.1% (7/86) of metastatic breast cancer patients receiving TAXOTERE 100 mg/m2 in a
   randomized trial and who had serial left ventricular ejection fractions assessed developed
   deterioration of LVEF by ³ 10% associated with a drop below the institutional lower limit
   of normal.
   Infusion Site Reactions: Infusion site reactions were generally mild and consisted of
   hyperpigmentation, inflammation, redness or dryness of the skin, phlebitis, extravasation, or
   swelling of the vein.
   Hepatic: In patients with normal LFTs at baseline, bilirubin values greater than the ULN
   occurred in 8.9% of patients. Increases in SGOT or SGPT > 1.5 times the ULN, or
   alkaline phosphatase > 2.5 times ULN, were observed in 18.9% and 7.3% of patients,
   respectively. While on TAXOTERE, increases in SGOT and/or SGPT > 1.5 times ULN
   concomitant with alkaline phosphatase > 2.5 times ULN occurred in 4.3% of patients with
   normal LFTs at baseline. (Whether these changes were related to the drug or underlying
   disease has not been established.)

   TAXOTERE 75 mg/m2: Treatment emergent adverse drug reactions are shown below.
   Included in this table are safety data for a total of 176 patients with non-small cell lung
   carcinoma and a history of prior treatment with platinum-based chemotherapy who were
   treated in two randomized, controlled trials. These reactions were described using NCI
   Common Toxicity Criteria regardless of relationship to study treatment, except for the
   hematologic toxicities or otherwise noted.




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   Treatment Emergent Adverse Events in Non-Small Cell Lung Cancer Patients
   Receiving Taxotere Regardless of Relationship to Treatment*

                          TAXOTERE             Best             Vinorelbine/Ifosfamide
      Adverse Event        75 mg/m2         Supportive
                           N=176 (%)           Care                  N=119 (%)
                                             N=49 (%)
   Neutropenia
   Any                     148 (85.5)            7 (16.3)             99 (85.3)
   Grade 3/4               115 (66.5)            6 (14.0)             68 (58.6)
   Leukopenia
   Any                     147 (85.0)            3 (6.8)              106 (91.4)
   Grade ¾                 87 (50.0)                0                  51 (44.0)
   Thrombocytopenia
   Any                      14 (8.0)                0                   9 (7.7)
   Grade 3/4                5 (2.9)                 0                   2 (1.7)
   Anemia
   Any                     160 (91.4)         27 (61.4)               108 (92.3)
   Grade 3/4                16 (9.1)           6 (13.6)                17 (14.5)
   Febrile
   Neutropenia**            11 (6.3)               NAx                  1 (0.8)


   Infection
   Any                     59 (33.5)          14 (28.6)               36 (30.3)
   Grade 3/4               18 (10.2)           3 (6.1)                11 (9.2)
   Treatment Related         5 (2.8)               NAx                  4 (3.4)
   Mortality

   Hypersensitivity
   Reactions
   Any                      10 (5.7)                0                   1 (0.8)
   Grade 3/4                5 (2.8)                 0                      0
   Fluid Retention
   Any                     59 (33.5)              NDy                 27 (22.7)
   Severe                   5 (2.8)                                    4 (3.4)
   Neurosensory
   Any                     41 (23.3)             7 (14.3)             34 (28.6)
   Grade 3/4                3 (1.7)              3 (6.1)               6 (5.0)



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   Neuromotor
   Any                      28 (15.9)              4 (8.2)          12 (10.1)
   Grade 3/4                 8 (4.5)               3 (6.1)           4 (3.4)
   Skin
   Any                      35 (19.8)              3 (6.1)          20 (16.8)
   Grade 3/4                 1 (0.6)               1 (2.0)           1 (0.8)
   Gastrointestinal
          Nausea
           Any              59 (33.5)           15 (30.6)           37 (31.1)
           Grade 3/4         9 (5.1)             2 (4.1)             9 (7.6)
          Vomiting
           Any              38 (21.6)           13 (26.5)           26 (21.8)
          Grade 3/4          5 (2.8)             1 (2.0)             7 (5.9)
           Diarrhea
           Any              40 (22.7)              3 (6.1)          14 (11.8)
           Grade 3/4         5 (2.8)                  0              5 (4.2)

   Alopecia                  99 (56.3)         17 (34.7)              59 (49.6)
   Asthenia
   Any                       93 (52.8)         28 (57.1)              64 (53.8)
   Severe***                 32 (18.2)         19 (38.8)              27 (22.7)
   Stomatitis
   Any                       46 (26.1)           3 (6.1)               9 (7.6)
   Grade 3/4                  3 (1.7)               0                  1 (0.8)
   Pulmonary
   Any                       72 (40.9)         24 (49.0)              54 (45.4)
   Grade 3/4                 37 (21.0)         14  (28.6)             22 (18.5)
   Nail Disorder
   Any                       20 (11.4)              0                  2 (1.7)
   Severe***                  2 (1.1)               0                     0
   Myalgia
   Any                        11 (6.3)              0                  3 (2.5)
   Severe***                     0                  0                     0
   Arthralgia
   Any                        6 (3.4)            1 (2.0)               2 (1.7)
   Severe***                     0                  0                  1 (0.8)
   Taste Perversion
   Any                        10 (5.7)              0                     0
   Severe***                  1 (0.6)               0                     0
   *Normal Baseline LFTs: Transaminases } 1.5 times ULN or alkaline phosphatase
    } 2.5 times ULN or isolated elevations of transaminases or alkaline phosphatase
    up to 5 times ULN




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   **Febrile Neutropenia: ANC grade 4 with fever > 38oC with IV antibiotics and/or
      hospitalization
   *** COSTART term and grading system
   ¨
     Not Applicable; y Not Done


   Ongoing Evaluation: The following serious adverse events of uncertain relationship to
   TAXOTERE have been reported:
        Body as a whole: abdominal pain, diffuse pain, chest pain, radiation recall phenomenon
        Cardiovascular: atrial fibrillation, deep vein thrombosis, ECG abnormalities,
        thrombophlebitis, pulmonary embolism, syncope, tachycardia, myocardial infarction
        Digestive: constipation, duodenal ulcer, esophagitis, gastrointestinal hemorrhage,
        intestinal obstruction, ileus, gastrointestinal perforation, neutropenic enterocolitis,
        dehydration in relation to digestive disorders
        Nervous: confusion, seizures
        Respiratory: dyspnea, acute pulmonary edema, acute respiratory distress syndrome,
        interstitial pneumonia
        Urogenital: renal insufficiency
   OVERDOSAGE
   There is no known antidote for TAXOTERE overdosage. In case of overdosage, the
   patient should be kept in a specialized unit where vital functions can be closely monitored.
   Anticipated complications of overdosage include: bone marrow suppression, peripheral
   neurotoxicity, and mucositis. Patients should receive therapeutic G-CSF as soon as
   possible after discovery of overdose. Other appropriate symptomatic measures should be
   taken, as needed.
   In two reports of overdose, one patient received 150 mg/m2 and the other received 200
   mg/m2 as 1-hour infusions. Both patients experienced severe neutropenia, mild asthenia,
   cutaneous reactions, and mild paresthesia, and recovered without incident.
   In mice, lethality was observed following single IV doses that were ³154 mg/kg (about 4.5
   times the recommended human dose on a mg/m2 basis); neurotoxicity associated with
   paralysis, non-extension of hind limbs, and myelin degeneration was observed in mice at 48
   mg/kg (about 1.5 times the recommended human dose on a mg/m2 basis). In male and
   female rats, lethality was observed at a dose of 20 mg/kg (comparable to the recommended
   human dose on a mg/m2 basis) and was associated with abnormal mitosis and necrosis of
   multiple organs.

   DOSAGE AND ADMINISTRATION
   Breast Cancer: The recommended dose of TAXOTERE is 60-100 mg/m2 administered
   intravenously over 1 hour every 3 weeks.




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   Non Small Cell Lung Cancer: The recommended dose of TAXOTERE is 75 mg/m2
   administered intravenously over 1 hour every 3 weeks. A dose of 100 mg/m2 in patients
   previously treated with chemotherapy was associated with increased hematologic toxicity,
   infection, and treatment-related mortality in randomized, controlled trials (see BOXED
   WARNING, WARNINGS and CLINICAL STUDIES sections).
   Premedication Regimen: All patients should be premedicated with oral corticosteroids
   such as dexamethasone 16 mg per day (e.g., 8 mg BID) for 3 days starting 1 day prior to
   TAXOTERE administration in order to reduce the incidence and severity of fluid retention
   as well as the severity of hypersensitivity reactions
   (see BOXED WARNING, WARNINGS, and PRECAUTIONS sections).
   Dosage Adjustments During Treatment:
   Breast Cancer. Patients who are dosed initially at 100 mg/m2 and who experience either
   febrile neutropenia, neutrophils < 500 cells/mm3 for more than 1 week, or severe or
   cumulative cutaneous reactions during TAXOTERE therapy should have the dosage
   adjusted from 100 mg/m2 to 75 mg/m2. If the patient continues to experience these
   reactions, the dosage should either be decreased from 75 mg/m2 to 55 mg/m2 or the
   treatment should be discontinued. Conversely, patients who are dosed initially at 60 mg/m2
   and who do not experience febrile neutropenia, neutrophils <500 cells/mm3 for more than 1
   week, severe or cumulative cutaneous reactions, or severe peripheral neuropathy during
   TAXOTERE therapy may tolerate higher doses. Patients who develop ³ grade 3 peripheral
   neuropathy should have TAXOTERE treatment discontinued entirely.
   Non-Small Cell Lung Cancer. Patients who are dosed initially at 75 mg/m2 and who
   experience either febrile neutropenia, neutrophils <500 cells/mm3 for more than one week,
   severe or cumulative cutaneous reactions, or other grade ¾ non-hematological toxicities
   during TAXOTERE treatment should have treatment withheld until resolution of the toxicity
   and then resumed at 55 mg/m2. Patients who develop ³ grade 3 peripheral neuropathy
   should have TAXOTERE treatment discontinued entirely.
   Special Populations:
        Hepatic Impairment: Patients with bilirubin > ULN should generally not receive
        TAXOTERE. Also, patients with SGOT and/or SGPT > 1.5 x ULN concomitant with
        alkaline phosphatase > 2.5 x ULN should generally not receive TAXOTERE.
        Children: The safety and effectiveness of docetaxel in pediatric patients below the age of
        16 years have not been established.
        Elderly: No dosage adjustments are required for use in elderly.
   PREPARATION AND ADMINISTRATION PRECAUTIONSa
   TAXOTERE is a cytotoxic anticancer drug and, as with other potentially toxic compounds,
   caution should be exercised when handling and preparing TAXOTERE solutions. The use
   of gloves is recommended. Please refer to Handling and Disposal section.



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       FDA fax 09 August 1999


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   If TAXOTERE concentrate, initial diluted solution, or final dilution for infusion should come
   into contact with the skin, immediately and thoroughly wash with soap and water. If
   TAXOTERE concentrate, initial diluted solution, or final dilution for infusion should come
   into contact with mucosa, immediately and thoroughly wash with water.
   TAXOTERE for Injection Concentrate requires two dilutions prior to administration. Please
   follow the preparation instructions provided below. Note: Both the TAXOTERE for
   Injection Concentrate and the diluent vials contain an overfill.
   A. Preparation of the Initial Diluted Solution
   1. Remove the appropriate number of vials of TAXOTERE for Injection Concentrate
   and diluent (13% Ethanol in Water for Injection) from the refrigerator. Allow the vials to
   stand at room temperature for approximately 5 minutes.
   2. Aseptically withdraw the contents of the appropriate diluent vial into a syringe and
   transfer it to the appropriate vial of TAXOTERE for Injection Concentrate. If the
   procedure is followed as described, an initial diluted solution of 10mg docetaxel/mL
   will result.
   3. Gently rotate the initial diluted solution for approximately 15 seconds to assure full
        mixture of the concentrate and diluent.
   4. The initial diluted TAXOTERE solution (10 mg docetaxel/mL) should be clear;
        however, there may be some foam on top of the solution due to the polysorbate 80.
        Allow the solution to stand for a few minutes to allow any foam to dissipate. It is not
        required that all foam dissipate prior to continuing the preparation process.
   B. Preparation of the Final Dilution for Infusion
   1. Aseptically withdraw the required amount of initial diluted TAXOTERE solution (10 mg
   docetaxel/mL) with a calibrated syringe and inject into a 250 mL infusion bag or bottle of
   either 0.9% Sodium Chloride solution or 5% Dextrose solution to produce a final
   concentration of 0.3 to 0.9 mg/mL.
        If a dose greater than 240 mg of TAXOTERE is required, use a larger volume of the
        infusion vehicle so that a concentration of 0.9 mg/mL TAXOTERE is not exceeded.
   2. Thoroughly mix the infusion by manual rotation.
   3. As with all parenteral products, TAXOTERE should be inspected visually for
        particulate matter or discoloration prior to administration whenever the solution and
        container permit. If the TAXOTERE for Injection initial diluted solution or final dilution
        for infusion is not clear or appears to have precipitation, these should be discarded.
   The final TAXOTERE dilution for infusion should be administered intravenously as a 1-hour
   infusion under ambient room temperature and lighting conditions.
   Contact of the TAXOTERE concentrate with plasticized PVC equipment or devices used
   to prepare solutions for infusion is not recommended. In order to minimize patient exposure
   to the plasticizer DEHP (di-2-ethylhexyl phthalate), which may be leached from PVC
   infusion bags or sets, the final TAXOTERE dilution for infusion should be stored in bottles
   (glass, polypropylene) or plastic bags (polypropylene, polyolefin) and administered through
   polyethylene-lined administration sets.


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   Stability: Unopened vials of TAXOTERE are stable until the expiration date indicated on
   the package when stored refrigerated, 2° to 8°C (36° to 46°F), and protected from bright
   light. Freezing does not adversely affect the product.
   HOW SUPPLIED
   TAXOTERE for Injection Concentrate is supplied in a single-dose vial as a sterile,
   pyrogen-free, non-aqueous, viscous solution with an accompanying sterile, non-pyrogenic,
   diluent (13% ethanol in Water for Injection) vial. The following strengths are available:
   TAXOTERE 80 MG                    (NDC 0075-8001-80)
   TAXOTERE (docetaxel) 80 mg Concentrate for Infusion: 80 mg docetaxel in 2 mL
   polysorbate 80 diluent for TAXOTERE 80 mg. 13% (w/w) ethanol in Water for Injection .
   Both items are in a blister pack in one carton.
   TAXOTERE 20 MG                    (NDC 0075-8001-20)
   TAXOTERE (docetaxel) 20 mg Concentrate for Infusion: 20 mg docetaxel in 0.5 mL
   polysorbate 80 and diluent for TAXOTERE 20 mg. 13% (w/w) ethanol in Water for
   Injection . Both items are in a blister pack in one carton.
   Storage: Store refrigerated, 2° to 8°C (36° to 46°F). Retain in the original package to
   protect from bright light.
   TAXOTERE premix solution (10 mg TAXOTERE/mL) and fully prepared TAXOTERE
   infusion solution (in either 0.9% Sodium Chloride solution or 5% Dextrose solution) should
   be used as soon as possible after preparation. However, the premix solution is stable for 8
   hours either at room temperature, 15° to 25°C
   (59° to 77°F), or stored refrigerated, 2° to 8°C (36° to 46°F).
   Handling and Disposal: Procedures for proper handling and disposal of anticancer drugs
   should be considered. Several guidelines on this subject have been published1-8. There is no
   general agreement that all of the procedures recommended in the guidelines are necessary
   or appropriate.
   REFERENCES
   1. OSHA Work-Practice Guidelines for Personnel Dealing with Cytotoxic (Antineoplastic)
       Drugs. Am J Hosp Pharm. 1986; 43(5): 1193-1204
   2. American Society of Hospital Pharmacists Technical Assistance Bulletin on Handling
       Cytotoxic and Hazardous Drugs. Am J Hosp Pharm. 1990; 47(95): 1033-1049.
   3. AMA Council Report. Guidelines for Handling Parenteral Antineoplastics. JAMA 1985;
       253 (11): 1590-1592.
   4. Oncology Nursing Society Clinical Practice Committee. Cancer Chemotherapy
       Guidelines. Module II – Recommendations of Nursing Practice in the Acute Care
       Setting. ONS 1988; 2-14.
   5. Recommendations for the Safe Handling of Parenteral Antineoplastic Drugs. NIH
       Publication No. 83-2621. For sale by the Superintendent of Documents, US
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   6. National Study Commission on Cytotoxic Exposure - Recommendations for Handling
      Cytotoxic Agents. Available from Louis P. Jeffry, Chairman, National Study
      Commission on Cytotoxic Exposure. Massachusetts College of Pharmacy and Allied
      Health Sciences, 179 Longwood Avenue, Boston, MA 02115.
   7. Clinical Oncological Society of Australia. Guidelines and Recommendations for Safe
      Handling of Antineoplastic Agents. Med J Austr. 1983; 426-428.
   8. Jones, RB, et al. Safe Handling of Chemotherapeutic Agents: A Report from the Mt.
      Sinai Medical Center. CA-A Cancer Journal for Clinicians 1983; Sept/Oct: 258-
      263.



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     Patient Information Leaflet
       Detach and give to Patient
   IN-5493D
   Rev. 7/98


                                   Patient Information Leaflet
                                          Questions and
                                         Answers About
                                          Taxotere ® for
                                      Injection Concentrate
                                    (generic name = docetaxel)
                                 (pronounced as TAX-O-TEER)
   What is Taxotere?
   Taxotere is a medication to treat breast cancer and non-small cell lung cancer. It has severe
   side effects in some patients. This leaflet is designed to help you understand how to use
   Taxotere and avoid its side effects to the fullest extent possible. The more you understand
   your treatment, the better you will be able to participate in your care. If you have questions
   or concerns, be sure to ask your doctor or nurse. They are always your best source of
   information about your condition and treatment.
   What is the most important information about Taxotere?
   • Since this drug, like many other cancer drugs, affects your blood cells, your doctor will
     ask for routine blood tests. These will include regular checks of your white blood cell
     counts. About 5% of people with low blood counts have developed life-threatening
     infections. The earliest sign of infection may be fever, so if you experience a fever, tell
     your doctor right away.
   • Occasionally, serious allergic reactions have occurred with this medicine. If you have any
     allergies, tell your doctor before receiving this medicine.
   • A small number of people who take Taxotere have severe fluid retention, which can be
     life-threatening. To help avoid this problem, you must take another medication called
     dexamethasone (DECKS-A-METH-A-SONE) prior to each Taxotere treatment. You
     must follow the schedule and take the exact dose of dexamethasone prescribed (see
     schedule at end of brochure). If you forget to take a dose or do not take it on schedule
     you must tell the doctor or nurse prior to your Taxotere treatment.
   • If you are using any other medicines, tell your doctor before receiving your infusions of
     Taxotere.
   How does Taxotere work?
   Taxotere works by attacking cancer cells in your body. Different cancer medications attack
   cancer cells in different ways.


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   Here’s how Taxotere works: Every cell in your body contains a supporting structure (like a
   skeleton). If this “skeleton” is damaged, it cannot grow or reproduce. Taxotere makes the
   “skeleton” in cancer cells very stiff, so that the cells can no longer grow.
   How will I receive Taxotere?
   Taxotere is given by an infusion directly into your vein. Your treatment will take about 1
   hour. Generally, people receive Taxotere every 3 weeks. The amount of Taxotere and the
   frequency of your infusions will be determined by your doctor.
   As part of your treatment, to reduce side effects your doctor will prescribe another
   medicine called dexamethasone. Your doctor will tell you how and when to take this
   medicine. It is important that you take the dexamethasone on the schedule set by your
   doctor. If you forget to take your medication, or do not take it on schedule, make sure to
   tell your doctor or nurse BEFORE you receive your Taxotere treatment. Included with
   this information leaflet is a chart to help you remember when to take your
   dexamethasone.
   What should be avoided while receiving Taxotere?
   Taxotere can interact with other medicines. Use only medicines that are prescribed for you
   by your doctor and be sure to tell your doctor all the medicines that you use, including
   nonprescription drugs.
   What are the possible side effects of Taxotere?
   Low Blood Cell Count – Many cancer medications, including Taxotere, cause a
   temporary drop in the number of white blood cells. These cells help protect your body from
   infection. Your doctor will routinely check your blood count and tell you if it is too low.
   Although most people receiving Taxotere do not have an infection even if they have a low
   white blood cell count, the risk of infection is increased.
   Fever is often one of the most common and earliest signs of infection. Your doctor
   will recommend that you take your temperature frequently, especially during the
   days after treatment with Taxotere. If you have a fever, tell your doctor or nurse
   immediately.
   Allergic Reactions – This type of reaction, which occurs during the infusion of Taxotere, is
   infrequent. If you feel a warm sensation, a tightness in your chest, or itching during or shortly
   after your treatment, tell your doctor or nurse immediately.
   Fluid Retention – This means that your body is holding extra water. If this fluid retention is
   in the chest or around the heart it can be life-threatening. If you notice swelling in the feet
   and legs or a slight weight gain, this may be the first warning sign. Fluid retention usually
   does not start immediately; but, if it occurs, it may start around your 5th treatment.
   Generally, fluid retention will go away within weeks or months after your treatments are
   completed.
   Dexamethasone tablets may protect patients from significant fluid retention. It is important
   that you take this medicine on schedule. If you have not taken dexamethasone on schedule,
   you must tell your doctor or nurse before receiving your next Taxotere treatment.



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   Hair Loss – Loss of hair occurs in most patients taking Taxotere (including the hair on your
   head, underarm hair, pubic hair, eyebrows, and eyelashes). Hair loss will begin after the first
   few treatments and varies from patient to patient. Once you have completed all your
   treatments, hair generally grows back.
   Your doctor or nurse can refer you to a store that carries wigs, hairpieces, and turbans for
   patients with cancer.
   Fatigue – A number of patients (about 10%) receiving Taxotere feel very tired following
   their treatments. If you feel tired or weak, allow yourself extra rest before your next
   treatment. If it is bothersome or lasts for longer than 1 week, inform your doctor or nurse.
   Muscle Pain – This happens about 20% of the time, but is rarely severe. You may feel
   pain in your muscles or joints. Tell your doctor or nurse if this happens. They may suggest
   ways to make you more comfortable.
   Rash – This side effect occurs commonly but is severe in about 5%. You may develop a
   rash that looks like a blotchy, hive-like reaction. This usually occurs on the hands and feet
   but may also appear on the arms, face, or body. Generally, it will appear between
   treatments and will go away before the next treatment. Inform your doctor or nurse if you
   experience a rash. They can help you avoid discomfort.
   Odd Sensations – About half of patients getting Taxotere will feel numbness, tingling, or
   burning sensations in their hands and feet. If you do experience this, tell your doctor or
   nurse. Generally, these go away within a few weeks or months after your treatments are
   completed. About 14% of patients may also develop weakness in their hands and feet.
   Nail Changes – Color changes to your fingernails or toenails may occur while taking
   Taxotere. In extreme, but rare, cases nails may fall off. After you have finished Taxotere
   treatments, your nails will generally grow back.
   Other Possible Side Effects – Less severe side effects include nausea and vomiting.
   Severe diarrhea may occasionally occur. If you experience these or any other unusual
   effects, tell your doctor or nurse.
   If you are interested in learning more about this drug, ask your doctor for a copy of the
   package insert.
   IN-5493D                                                                           Rev. 7/98




   Date _______________________
   Day 1


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   Start
   Dexamethasone tablets
   2 times per day
   AM
   PM


   Date _______________________
   Day 2
                  Taxotere
               Treatment Day

   Take
   Dexamethasone tablets
   2 times per day
   AM
   PM



   Date _______________________
   Day 3




   Take
   Dexamethasone tablets
   2 times per day
   AM
   PM




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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                             MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                                        SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                           NOTICE OF SUBMISSION

        PLEASE TAKE NOTICE that Defendants, sanofi-aventis U.S. LLC, Sanofi US Services

Inc., Sandoz Inc., Hospira, Inc., Hospira Worldwide, LLC, Pfizer Inc., Actavis Pharma, Inc.,

Accord Healthcare, Inc., Sun Pharma Global Inc.,1 and McKesson Corporation will bring for

hearing the accompanying Motion to Dismiss Plaintiffs’ Master Long Form Complaint on the 30th

day of August, 2017, at 9:30 a.m., before the Honorable Kurt D. Engelhardt of the United States

District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, LA 70130.




1
  At the time of filing this Motion, Sun Pharma Global Inc. and Plaintiffs have agreed to a voluntary dismissal
without prejudice and have further agreed to substitute and accept streamlined service of process for Sun
Pharmaceutical Industries, Inc. f/k/a Caraco Laboratories, Ltd. Plaintiffs have also named Sun Pharma Global FZE
in this litigation but Sun Pharma Global FZE is a foreign company incorporated under the laws of the United Arab
Emirates and has not been served with process, has not agreed to accept service of process in this litigation and
consequently, Sun Pharma Global FZE is not appearing in this matter or joining in this Motion.

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Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2017, I electronically filed the foregoing with the Clerk

of the Court using the ECF system which sent notification of such filing to all counsel of record.



                                                             /s/ Douglas J. Moore




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